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 1                                                                         Honorable James L. Robart

 2

 3
                                UNITED STATES DISTRICT COURT
 4                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 5
     SEATTLE METROPOLITANS HOCKEY
 6   LLC, a Washington limited liability company,        Civil Action No. 2:23-cv-1989JLR

 7                          Plaintiff,                   ANSWER TO PLAINTIFF’S FIRST
                                                         AMENDED COMPLAINT AND
 8          v.                                           COUNTERCLAIMS

 9   SEATTLE HOCKEY PARTNERS LLC, a
     Delaware limited liability company,
10
                            Defendant.
11

12          Defendant Seattle Hockey Partners LLC (“Defendant”) hereby responds to Plaintiff Seattle

13 Metropolitans Hockey LLC’s First Amended Complaint by filing this Answer and related

14 Counterclaims. To the extent that any allegation in the Complaint is not specifically admitted, the

15 allegation is denied. Defendant answers the corresponding numbered paragraphs of the Complaint

16 as follows:

17                                I.     NATURE OF THE ACTION

18          1.      This is an action for injunctive relief and monetary damages arising

19 out of Defendant’s unauthorized use of Seattle Metropolitans’ famous “S” logo and

20 SEATTLE METROPOLITANS word trademarks and trade dress in association

21 with apparel, hockey paraphernalia, organizing, arranging and conducting ice

22 hockey games, fundraising services for youth hockey programs and skating rinks, museum and

23 display services pertaining to an historical Seattle professional ice hockey team, and other hockey-

24 related services, resulting in infringement of Seattle Metropolitans’ rights, as well as federal and

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 1 state unfair competition based on the manner in which Defendant has misled the public regarding

 2 the source for products and related services, and unjust enrichment.

 3          ANSWER: Defendant admits that Plaintiff has filed an action for injunctive relief

 4 and monetary damages raising claims of federal and common law trademark infringement,

 5 false designation of origin and unfair competition, violations of Washington’s Consumer

 6 Protection Act, and unjust enrichment. The remaining allegations in Paragraph 1 state

 7 legal conclusions to which no response is required. To the extent a response is required,

 8 Defendant denies the allegations contained in Paragraph 1.

 9                                          II.     PARTIES

10          2.     Plaintiff Seattle Metropolitans is a Washington limited liability company having

11 its principal place of business in Bellevue, Washington.

12          ANSWER: Defendant lacks sufficient information to admit or deny and on that

13 basis denies the allegations in Paragraph 2.

14          3.     Defendant Seattle Hockey Partners LLC is a Delaware limited liability company

15 with a principal place of business at 10601 Fifth Avenue, Suite 100, Seattle, Washington 98125,

16 and a registered agent as follows: CT Corporation System, 711 Capitol Way S., Suite 204,

17 Olympia, Washington 98501. On information and belief, Defendant is owned, controlled and/or

18 managed by various other entities and individuals including Slapshot LLC, FW-Puck LLC,

19 David Bonderman, Jerry Bruckheimer and Tod Leiweke.

20          ANSWER: Admitted.

21                              III.    JURISDICTION AND VENUE

22          4.     This action arises, in part, under the trademark laws of the United States of

23 America, 15 U.S.C. § 1051 et seq. Jurisdiction over the trademark infringement, false

24

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 1 designation of origin and federal unfair competition claims is conferred upon this Court by 28

 2 U.S.C. §§ 1331 and 1338. Supplemental jurisdiction is conferred upon this Court over the related

 3 state claims as they are derived from a common nucleus of operative fact that form part of the

 4 same case or controversy. 28 U.S.C. § 1367(a). The amount in controversy exceeds $75,000

 5 exclusive of interest and costs.

 6          ANSWER: Paragraph 4 states a legal conclusion to which no response is required.

 7 To the extent a response is required, Defendant does not dispute that this Court has subject

 8 matter jurisdiction over this action.

 9          5.      Personal jurisdiction and venue are proper in this Court pursuant to 28 U.S.C.

10 § 1391. This Court has personal jurisdiction over Defendant and over the subject matter of this

11 dispute and venue is proper in this Court because the matters giving rise to this complaint occurred

12 in King County, all parties transact business in King County, and all parties have an office for the

13 transaction of business in King County. Accordingly, Defendant maintains minimum contacts with

14 Washington and this District that are more than sufficient to subject Defendant to service of process

15 in compliance with due process of law.

16          ANSWER: Paragraph 5 states a legal conclusion to which no response is required. To

17 the extent a response is required, Defendant does not dispute that this Court has personal

18 jurisdiction over Defendant or that venue is proper in this District.

19                                  IV.    FACTUAL ALLEGATIONS

20 A.       Seattle Metropolitans’ Business and Trademark Rights

21          6.      Seattle Metropolitans was formed in 2021 to continue and expand the life-long

22 passion of its founder and sole member Paul Kim. Paul grew up in Seoul, South Korea. He had

23 asthma, and his mother wanted him to find something to play away from dirt and pollen, and his

24

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 1 cousin played hockey. When he saw his first game, he fell in love. He played hockey in Seoul from

 2 ages 8 to 10, then the family moved to the Seattle area, where he continued to play, eventually with

 3 the Sno-King Amateur Hockey Association and at Western Washington University. While he was

 4 trying to learn English, his teacher gave him a book about Seattle hockey history, where he learned

 5 how Seattle Metropolitans of the Pacific Coast Hockey Association won the Stanley Cup in 1917

 6 when it defeated the Montreal Canadians of the National Hockey Association 3-1 in a best-of-five

 7 series in Seattle to become the first American team to win the Cup.

 8          ANSWER: Defendant admits the historic Seattle Metropolitans hockey team won

 9 the 1917 Stanley Cup. Defendant lacks sufficient information to admit or deny the other

10 allegations in Paragraph 6 and on that basis denies the allegations in Paragraph 6.

11          7.      Towards the end of college, Paul decided that he wanted to do something

12 involving his passion—hockey. He realized the 100th anniversary of the founding of Seattle

13 Metropolitans was coming up in 2015 and found nothing arranged for its commemoration.

14 In 2014, long before the NHL approved Seattle’s expansion team in late 2018 or the Seattle

15                  Kraken began to play in the 2021-22 season, Paul acquired the trademark

16                  rights to the distinctive “S” logo, the SEATTLE METROPOLITANS mark

17                  and green, red and white colors and horizontal patterns, and embarked on a

18 quest to revive the memory of Seattle’s championship hockey team.

19          ANSWER: Defendant admits that the NHL approved Seattle’s expansion team

20 in 2018 and that 2021–2022 was the Seattle Kraken’s first season. Defendant lacks

21 sufficient information to admit or deny the other allegations in Paragraph 7 and on

22 that basis denies the other allegations in Paragraph 7.

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 1          8.      Paul immediately began the process of perfecting his rights, filing for and

 2 eventually obtaining federal trademark registration of the “S” logo and word marks used for

 3 apparel, hockey paraphernalia, and hockey-related services as follows:

 4
             Mark           Reg No.        Date                         Goods/Services
 5                           4928419    29 Mar 2016   Cl. 25: Baseball caps and hats; Beanies; Pants; Shirts;
                                                      Sleepwear; Socks; Sports jerseys; Sweat pants; Sweat
                                                      shirts; Sweaters
 6

 7    SEATTLE                5103397    20 Dec 2016   Cl. 25: Baseball caps and hats; Beanies; Pants; Shirts;
      METROPOLITANS                                   Sleepwear; Socks; Sports jerseys; Sweat pants; Sweat
                                                      shirts; Sweaters
 8
      SEATTLE                6777676     5 Jul 2022   Cl. 36: Fundraising services by means of organizing,
 9    METROPOLITANS                                   arranging and conducting fundraising events to
                                                      benefit failing local small businesses, and fundraising
                                                      services by means of raising funds for youth hockey
10                                                    programs and skating rinks.
                                                      Cl. 41: Museum services, namely, display of
11                                                    memorabilia and artifacts pertaining to an historical
                                                      Seattle professional ice hockey team, and providing a
12                                                    website featuring information regarding the history of
                                                      this ice hockey team; conducting guided walking
13                                                    tours of a city and its landmarks; and organizing,
                                                      arranging, and conducting of ice hockey games.
14   The U.S. registrations for the “S” logo and word mark for apparel are incontestable,

15   confirming their validity and strength. Seattle Metropolitans is also the owner of the

16   following pending trademark application for the “S” logo:

17           Mark           Ser. No.        Date                        Goods/Services
                            98331136    26 Dec 2023   Cl. 41: Museum services, namely, display of
18                                                    memorabilia and artifacts pertaining to an historical
                                                      Seattle professional ice hockey team, and providing a
19                                                    website featuring information regarding the history of
                                                      this ice hockey team; conducting guided walking
20                                                    tours of a city and its landmarks; and organizing,
                                                      arranging, and conducting of ice hockey games
21
            ANSWER: Defendant admits that records of the U.S. Patent and Trademark Office
22
     (“Trademark Office”) list Plaintiff as owner of Registration No. 4928419 for the “S
23
     SEATTLE” logo, which issued on March 29, 2016, and that this registration extends only to
24

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 1 goods and services in International Class 25, specifically baseball caps and hats, beanies,

 2 pants, shirts, sleepwear, socks, sports jerseys, sweat pants, sweat shirts, and sweaters.

 3 Defendant admits that Trademark Office records list Plaintiff as owner of Registration No.

 4 5103397 for the “Seattle Metropolitans” word mark, which issued on December 20, 2016,

 5 and that this registration extends only to goods and services in International Class 25,

 6 specifically baseball caps and hats, beanies, pants, shirts, sleepwear, socks, sports jerseys,

 7 sweat pants, sweat shirts, and sweaters. Defendant admits that Trademark Office records

 8 list Plaintiff as owner of Registration No. 6777676 for the “Seattle Metropolitans” word

 9 mark, which issued on July 5, 2022, and that this registration extends only to the services

10 recited in International Classes 36 and 41. Defendant admits that Plaintiff filed an

11 application register the “S SEATTLE” logo on December 26, 2023 for the recited services

12 in International Class 41. Defendant lacks sufficient information to admit or deny the

13 remaining allegations in Paragraph 8 and on that basis denies the same.

14          9.      Paul also promptly began acquiring significant common law rights based on

15 substantial promotion, marketing and sales of apparel and hockey paraphernalia, and

16 organizing, arranging and conducting ice hockey games and providing fundraising services for

17 youth hockey programs and skating rinks and museum and display services pertaining to an

18 historical Seattle professional ice hockey team—Seattle Metropolitans—and other hockey-

19 related services throughout the Puget Sound, across the United States and to many parts of the

20 world. As reported in the Puget Sound Business Journal in its June 16, 2017 article, by then Paul

21 was marketing and selling “S” logo and word mark hats, T-shirts, jerseys and hockey

22 paraphernalia online to the world as well as through seven sporting goods stores, arena pro shops

23 and at tables set up at youth hockey tournaments across the Washington State, which sales were

24

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 1 successful,     according    to    Play    it   Again    Sports    in   Lynnwood,           Washington.

 2 (https://www.bizjournals.com/seattle/news/2017/06/16/make-seattle-skate-again.html).

 3

 4

 5
             ANSWER: Defendant lacks sufficient information to admit or deny and on that
 6
     basis denies the allegations in Paragraph 9.
 7
             10.    For more than eight years, since 2015, Seattle Metropolitans (or its predecessor)
 8
     have sold or licensed more than ten thousand branded products resulting in more than a hundred
 9
     thousand dollars in sales across the state, country and world. Branded products include jerseys,
10
     T-shirts, sweatshirts, hats, beanies, pants, shoes, socks, masks, banners, and stickers, as well as a
11
     variety of types of hockey paraphernalia. Below are just a few examples.
12

13

14

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16

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18

19

20           ANSWER: Defendant lacks sufficient information to admit or deny and on that basis

21 denies the allegations in Paragraph 10.

22           11.    Branded products have continuously been marketed and sold at both retail and

23 wholesale at a variety of online outlets, for example www.seattle-metropolitans.com via resell on

24 Amazon and eBay, as well as at many brick and mortar retailers via their corresponding online

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 1 portals, including: Play it Again Sports, Hockey Source, Hockey Wolf, Elevate Sporting, Simply

 2 Seattle, Pro Image, and most Bartell Drugs, along with the majority of ice hockey specific stores in

 3 Washington.

 4          ANSWER: Defendant lacks sufficient information to admit or deny and on that

 5 basis denies the allegations in Paragraph 11.

 6          12.     Seattle Metropolitans has marketed throughout the world and has sold branded

 7 products into at least 34 U.S. states as well as in other countries.

 8          ANSWER: Defendant lacks sufficient information to admit or deny and on that

 9 basis denies the allegations in Paragraph 12.

10          13.     Seattle Metropolitans have

11 multiple licensees, including Strideline,

12 Ruffneck Scarves, Alexander Global, Simply

13 Seattle, Ebbets Field, Bench Clearers, Hockey

14 Wolf, and Seattle Junior Metropolitans Youth

15 Hockey.

16          ANSWER: Defendant lacks sufficient

17 information to admit or deny and on that

18 basis denies the allegations in Paragraph 13.

19 14.      Seattle Metropolitans have organized,

20 arranged and conducted ice hockey games

21 through in Pacific Northwest and sponsored or

22 assisted many regional hockey programs while

23 promoting its “S” logo and SEATTLE

24

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 1                                                 METROPOLITANS brands. Between 2015 and

 2                                                 2022, Seattle Metropolitans promoted many

 3                                                 ticketed hockey events that were attended by

 4                                                 thousands (and viewed by likely tens of thousands)

 5                                                 and generated hundreds of thousands of dollars for

 6 local and regional hockey programs. These events were often conducted in association with the

 7 Hockey Hall of Fame, which recognized Seattle Metropolitans’ unique position as owner of the

 8 famous brand and hockey legacy. These events received substantial local and national press and

 9 media coverage, including from such outlets as the New York Times, Sports Illustrated, ESPN,

10 King5, Komo4, Fox13, Seattle Times, Golfers Digest, and more, exposing millions of people to

11 Seattle Metropolitans brands. Seattle Metropolitans has licensed the Seattle Junior Metropolitans

12 (fka the Seattle Junior Admirals), the original youth hockey association for kids living in Settle-

13 Mukilteo for the past 50 years, to the benefit of roughly 700 families in that area.

14          ANSWER: Defendant lacks sufficient information to admit or deny and on that

15 basis denies the allegations in Paragraph 14.

16          15.     Based on Seattle Metropolitans’ exclusive, consistent and substantial use of the

17 “S” logo and SEATTLE METROPOLITANS mark in interstate and international commerce, it

18 has earned common law rights and become a strong and famous mark associated with Seattle

19 Metropolitans and all facets of hockey in the greater Puget Sound area. Indeed, as early as 2017,

20 the Puget Sound Business Journal branded Paul as “hockey’s unlikely ambassador to the Pacific

21 Northwest” and the “de facto ambassador of the [Seattle Metropolitans]:”

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            ANSWER: Paragraph 15’s allegations as to the Plaintiff’s common law trademark
10
     rights, the strength of its trademarks, and the alleged famous status of its mark state legal
11
     conclusions to which no response is required. To the extent any response is required,
12
     Defendant lacks sufficient information to admit or deny and on that basis denies the
13
     allegations in Paragraph 15.
14
            16.     In its December 24, 2018, feature article, NHL.com noted Paul’s ownership of
15
     Seattle Metropolitans logo and name and commended his efforts as “an enterprising fan [who]
16
     dusted off the [Seattle Metropolitans] history and brought it to life again.”
17
     (https://www.nhl.com/news/seattle-nhl-expansion-team-can-build-on-legacy-of-metropolitans-
18
     303234234).
19
            ANSWER: Defendant lacks sufficient information to admit or deny and on that
20
     basis denies the allegations in Paragraph 16.
21
            17.     The Seattle Metropolitan’s continuous use of its marks predates Defendant’s
22
     alleged first use dates. Thus, Seattle Metropolitans has priority over any use of the mark that may
23
     be claimed by Defendant.
24

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 1          ANSWER: Paragraph 17 states a legal conclusion to which no response is required.

 2 To the extent a response is required, Defendant denies the allegations in Paragraph 17.

 3 B.       Defendant’s Knowledge of Seattle Metropolitans, Bad-Faith Negotiations and
            Wrongful Actions
 4
            18.     Defendant has long known about Paul, his ownership and use of the “S” logo and
 5
     SEATTLE METROPOLITANS mark, and the
 6
     association it has to the legacy of Seattle
 7
     Metropolitans hockey team that Seattle
 8
     Metropolitans has created over nearly the past
 9
     decade.
10
            ANSWER: Defendant admits that it
11
     became aware of Paul Kim in 2018. Defendant otherwise denies the allegations set forth in
12
     Paragraph 18.
13
            19.     As news of the NHL’s potential return to Seattle made headlines in early 2018,
14
     Paul reached out to executives of the Oak View Group (predecessors of Defendant), who
15
     indicated that it liked what Paul had done with the brand. Defendant invited Paul to an open
16
     house to highlight its proposed hockey arena project and enticed him with the possibility that he
17
     may be invited to co-host an event in which the Stanley Cup would visit Seattle.
18
            ANSWER: Defendant lacks sufficient information to admit or deny the allegations
19
     in Paragraph 19 and on that basis denies the same.
20
            20.     Over the next five years, Defendant actively sought to ingratiate itself with Seattle
21
     Metropolitans to reference the valuable “S” logo and SEATTLE METROPOLITANS brand and
22
     thereby create a connection between Defendant’s anticipated Seattle hockey venture and the
23

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 1 goodwill and brand recognition Seattle Metropolitans had developed since 2014. As early as

 2 March 2018, Defendant used Seattle Metropolitans’ registered “S” logo in its online post:

 3          ANSWER: Defendant admits that in 2018 it made a historical reference on its social

 4 media to the fact that in 1917 the historic Seattle Metropolitans hockey team won the

 5 Stanley Cup. Defendant denies the remaining allegations in Paragraph 20.

 6                                                     21.     Defendant’s CEO Tod Leiweke met

 7                                                     with Paul in advance of the time that news of

 8                                                     the Seattle NHL expansion broke in 2018,

 9                                                     and wore the Seattle Metropolitan’s branded

10                                                     jersey for a photo opportunity. As reported in

11                                                     the December 24, 2018 NHL.com feature

12 article, Mr. Leiweke complimented Paul’s efforts to develop Seattle Metropolitans’ brands,

13 telling him that he was “smart,” and that Defendant’s CEO would “talk to [Paul] later” about the

14 valuable brand.

15          ANSWER: Defendant lacks sufficient information to admit or deny the allegations

16 in Paragraph 21 and on that basis denies the same.

17          22.    In February 2019, Defendant touted the NHL.com article featuring Paul in its

18 online post, acknowledging his “mission to revive the legacy of Seattle Metropolitans:”

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 1          ANSWER: Defendant admits it made a social media post on February 11, 2019,

 2 referencing an NHL.com article that discussed Paul Kim.

 3          23.    In February 2020, in an effort to create further association between what became

 4 the fledging Seattle Kraken hockey team and the legacy Seattle Metropolitans had revived,

 5 Defendant requested rights to use Seattle Metropolitans colors in a promotional video. In reliance

 6 on the many representations by Defendant, Seattle Metropolitans’ agreed, continuing to believe

 7 that Defendant was operating in good faith towards developing a joint relationship with Seattle

 8 Metropolitans to parley its brand success and

 9 established goodwill to promote Defendant’s

10 hockey efforts in the region.

11          ANSWER: Defendant admits that

12 on February 21, 2020, it reached out to

13 Paul Kim via email because there was “a

14 chance” that Defendant’s would “use some

15 subtle hints” of Seattle Metropolitans’ alleged colors in an upcoming video. Defendant

16 admits that Paul Kim responded the same day with enthusiasm, stating: “That sounds

17 awesome!” Defendant admits that Paul Kim provided Defendant with pictures highlighting

18 colors used by the historic Seattle Metropolitans hockey team. Defendant lacks sufficient

19 information to admit or deny the remaining allegations in Paragraph 23, and on that basis

20 Defendant denies the remaining allegations in Paragraph 23.

21
            24.      It was not until July 2020 that Defendant first officially contacted Seattle
22
     Metropolitans about the long-insinuated but never materialized agreement to use its valuable
23
     brands. In a July 8, 2020 email, Lance Lopes, NHL Seattle Executive Vice President-General
24

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 1 Counsel contacted Paul about a “formal arrangement for

 2 [Defendant’s] team to use Seattle Metropolitans trademarks.” When

 3 the conversation occurred that Friday, however, Paul was shocked

 4 that Defendant offered only a single season ticket in exchange for

 5 exclusive jersey rights to the valuable Seattle Metropolitans

 6 trademarks, which offer was of course declined.

 7          ANSWER: Defendant admits that on July 8, 2020, it

 8 contacted Paul Kim seeking a time to speak about a formal

 9 arrangement by which Defendant would use Plaintiff’s alleged

10 trademarks. Defendant admits it offered Paul Kim a pair of season tickets for three

11 seasons. Defendant lacks sufficient information to admit or deny the remaining allegations

12 in Paragraph 24 and on that basis denies the same.

13          25.    A month later in August 2020, Defendant offered to take a license for 5% of net

14 sales, and with no minimum, no online sales, no resale and no sell off period for existing

15 licensees. Given that typical industry licenses were in the range of 12% to 15% of all gross sales

16 and included minimum requirements and sell off period for existing licenses, this offer was

17 likewise rejected.

18          ANSWER: Defendant admits it made a reasonable license offer in good faith to Paul

19 Kim in August 2020, which Kim rejected. Defendant lacks sufficient information to admit

20 or deny the remaining allegations in Paragraph 25 and on that basis denies the same.

21          26.    Five months later in January 2021, Defendant repeated the same offer except

22 adding a low minimum guarantee, which offer was likewise rejected.

23

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 1          ANSWER: Defendant admits that in January 2021 it made a revised license offer to

 2 Paul Kim, which he also rejected.

 3          27.    Instead of presenting a commercially reasonable and industry respectable

 4 licensing offer, Defendant took a different approach—continue to take advantage of and use

 5 Seattle Metropolitans’ valuable trademark rights and established goodwill without authorization.

 6          ANSWER: Denied.

 7          28.    Later that year, in October 2021, continuing to take advantage of the goodwill and

 8 ostensible relationship it was fostering with Seattle Metropolitans and in an effort to usurp the

 9 goodwill and brand association of Seattle Metropolitans, Defendant used the registered “S” logo,

10 the SEATTLE METROPOLITANS word mark and the same distinctive red color in a banner

11 raised in Climate Pledge Arena that remains to this day—all without permission or license from

12 Seattle Metropolitans.

13

14

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21
            ANSWER: Defendant admits that in October 2021 a banner paying homage to
22
     Seattle’s hockey history and commemorating the historic Seattle Metropolitans hockey
23
     team’s 1917 Stanley Cup victory was unveiled in the Climate Pledge Arena. Defendant
24

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 1 admits that this banner has not been removed. Defendant denies the remaining allegations

 2 in Paragraph 28, including Plaintiff’s suggestion that it has any trademark rights that

 3 implicate the alleged banner.

 4          29.     Seattle Metropolitans heard nothing further from Defendant until January 20, 2023,

 5 when Mr. Lopes reached out again to Seattle Metropolitans. Defendant desired to develop and

 6 market a “throwback” campaign for the 2024 Winter Classic that had been awarded by the NHL

 7 and would be held in Seattle January 1, 2024. The Winter Classic is considered one of the greatest

 8 spectacles in all of sport. According to NHL.com, it is a “New Year’s tradition where one city is

 9 awarded an event that honors hockey’s outdoor origins in an awe-inspiring setting reimagined and

10 transformed for the NHL.” It directly draws upon the history and tradition of hockey in the area in

11 which it is held. Given Seattle’s lack of history being an extremely new franchise, it was

12 imperative that Defendant draw on the historical association of Seattle Metropolitans, meaning that

13 it was forced to deal again with Seattle Metropolitans—exclusive owners of the branding rights.

14          ANSWER: Defendant admits that it reached out to Paul Kim on January 20, 2023,

15 regarding a possible opportunity related to the 2024 NHL Winter Classic. Defendant further

16 admits that Plaintiff quotes content from NHL.com. Plaintiff’s allegations regarding its

17 “exclusive” ownership of “branding rights” is a legal conclusion to which no response is

18 required. Defendant lacks sufficient information to admit or deny the remaining allegations

19 in Paragraph 29, and on that basis denies the same.

20          30.     This time Defendant indicated that it would not license, but only wanted to

21 “purchas[e] and thus extinguish[]” all rights in Seattle Metropolitans’ trademarks. Defendant failed

22 to make a serious offer, however, instead only offering a one-time payment amounting to less than

23 even a single year’s revenues from sales of the branded Seattle Metropolitans products and existing

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 1 licenses. It is well known that the NHL’s merchandising arm is a big global business, bringing in

 2 hundreds of millions of dollars every year in licenses and team gear sales. As reported by former

 3 NHL merchandising executive Fred Scalera in the June 16, 2017 Puget Sound Business Journal

 4 article, team merchandizing generates a lot of money and the brand becomes extremely valuable.

 5 Importantly, the NHL Winter Classic is one of the largest marketing events of the year. According to

 6 one published report, a decade ago the 2014 Winter Classic generated $10s of millions in revenues,

 7 and              merchandising              sales            set            records                         highs.

 8 (https://www.sbnation.com/nhl/2014/1/13/5305134/winter-classic-2014-hockey-related-revenue-

 9 profit). With this in mind, Seattle Metropolitans was willing to negotiate in good faith, but

10 Defendant would not make any meaningful or commercially reasonable offer to acquire the rights.

11          ANSWER: Defendant admits that it sought to purchase the rights to the Plaintiff’s

12 alleged trademarks and that Defendant made a commercially reasonable offer to Paul Kim,

13 which he rejected. Defendant lacks sufficient information as to the remaining allegations in

14 Paragraph 30, and on that basis denies the same.

15          31.     Once negotiations broke down by February 2023, Defendant indicated that it

16 would proceed on “a completely different design”—an “alternative” to Seattle Metropolitans “S”

17 design. Seattle Metropolitans put Defendant on written notice it expected any alternative design to

18 be a “completely different design concept” that did not implicate Seattle Metropolitans trademarks

19 or seek to trade on the goodwill and reputation of Seattle Metropolitans in association with all facts

20 of hockey. Defendant acknowledged this notice in writing, claiming that it would be “going a

21 different direction.”

22          ANSWER: Defendant admits it did not reach an agreement with Paul Kim and that

23 it chose not to use or incorporate the Plaintiff’s claimed trademarks—including the “S

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 1 Seattle logo” or the Seattle Metropolitans word mark—and that rather than incorporate

 2 elements of the historic Seattle Metropolitans hockey team’s uniform, the Kraken would go

 3 in a different direction for its 2024 NHL Winter Classic design identity. Defendant admits

 4 that the design identity it ultimately used was based on Defendant’s own proprietary brand

 5 and did not incorporate the Metropolitans’ jersey color scheme or Plaintiff’s alleged

 6 trademarks. Defendant denies the remaining allegations in Paragraph 31.

 7          32.    Nevertheless, Defendant did exactly the opposite of their representation. Instead

 8 of “going a different direction” and avoiding Seattle Metropolitans well-known and valuable

 9 trademark rights, on November 22, 2023, Defendant unveiled its Winter Classic jerseys and

10 related merchandise, which incorporates the virtually identical “S,” red color, white border and

11 white block letter design of the federally registered and famous Seattle Metropolitans “S” logo.

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            ANSWER: Defendant admits that it unveiled its Winter Classic design identity on
19
     November 22, 2023. Defendant denies the remaining allegations in Paragraph 32.
20
            33.     In a clear attempt to create an association with Seattle Metropolitans’
21
     established legacy, brand and goodwill related to Pacific Northwest hockey—owned
22
     exclusively by Seattle Metropolitans—Defendant further imitated the horizontal color band
23
     jersey configuration long associated with Seattle Metropolitans, and even made specific
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 1 reference to Seattle Metropolitans’ 1917 Stanley Cup championship by featuring “1917”

 2 prominently on the jersey collar:

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 9          ANSWER: Denied.
10          34.    Defendant’s actions were calculated and willfully intended to create a false
11 association between Defendant and Seattle Metropolitans, not only its famous brand as seen on all

12 types of apparel and hockey paraphernalia, but also related to organizing, arranging and conducting

13 ice hockey games and other hockey-related services. Indeed, Defendant’s agents have admitted

14 spending months striving to create an association with Seattle Metropolitans. Matty Merrill, Adidas

15 designer commissioned by Defendant to produce the infringing Winter Classic design, admitted the

16 lengths went to in copying Seattle Metropolitans because “[t]he Kraken obviously want to be

17 associated with the Metropolitans.” In a recent KOMO-TV news article, Mr. Merrill detailed how

18 he “spent hours upon hours designing the Winter Classic” apparel in an effort to “make the current

19 fit look like the games of old.” As admitted by Steve Mayer, NHL’s chief content officer and vice

20 president, creating the association with Seattle Metropolitans was “always part of the plan.” (see

21 https://www.msn.com/en-us/sports/nhl/hockey-history-reborn-seattle-s-t-mobile-park-to-host-

22 first-ever-nhl-winter-classic/ar-AA1m1vlA) There is no question that Defendant succeeded in its

23 willful infringement of Seattle Metropolitans rights.

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 1          ANSWER: Defendant admits that the quotes of Matty Merrill and Steve Mayer

 2 appear in the articles referenced in paragraph 34. Defendant denies the remaining allegations

 3 in paragraph 34.

 4          35.    Defendant has wrongfully used Seattle Metropolitans’ trademarks on a wide variety

 5 of apparel and hockey paraphernalia which directly compete for the same customers in the same

 6 channels of trade as Seattle Metropolitans, including jerseys, T-shirts, sweatshirts, headwear, and

 7 gear such as pucks, banners and stickers. Some examples are shown herein.

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22          ANSWER: Denied.

23          36.    Defendant has flooded the market directly and through licensees, promoting and

24 selling the confusingly similar products via numerous online and traditional retail and wholesale

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 1 outlets, including without limitation: Seattle Hockey Team Store, Shop NHL, DICK’s Sporting

 2 Goods, eBay, Fanatics, FansEdge, GoalGroove Jerseys, Lids.com, Mercari, ModeSens, Pixel Vibe

 3 Store, Precision Flex Store, Pro-Image Sports, SportsK.com, and Velvet Glow Store.

 4          ANSWER: Defendant admits that it has sold goods bearing its Winter Classic design

 5 identity through various online and brick-and-mortar retailers. Defendant denies the

 6 remaining allegations in Paragraph 36.

 7          37.    Defendant’s pervasive use of Seattle Metropolitans trademarks in association with

 8 organizing, arranging and conducting ice hockey games—including with promotions for the Winter

 9 Classic scheduled for January 1, 2023 at T-Mobile Park throughout the Pacific Northwest and

10 world—likewise create a false association between Defendant and Seattle Metropolitans.

11          ANSWER: Paragraph 37 states a legal conclusion to which no response is required. To

12 the extent a response is required, Defendant denies the allegations in Paragraph 37.

13          38.    The impact of Defendant’s trademark infringement is particularly acute in the

14 context of Internet advertising and sales. Defendant’s unauthorized use of Seattle Metropolitans

15 trademarks allows it to trade on the product specific information, hockey event association, and

16 branding developed by the Seattle Metropolitans to misdirect Internet search engines and,

17 ultimately, consumers from online stores and ticket outlets where authorized products are sold and

18 hockey-related services are provided. See, for example, how six out of eight jerseys shown as a

19 result of a search for “Seattle Metropolitans jerseys” on Google are the confusingly similar

20 imitations from Defendant:

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 8          ANSWER: Denied.

 9          39.     Through its actions, Defendant has gained an improper and unfair competitive

10 advantage over Seattle Metropolitans in the sale of competing apparel and hockey gear. It has created

11 actual confusion in the public as to the source of authorized Seattle Metropolitans branded products.

12 In addition to or in the alternative, Defendant has engaged in actionable reverse confusion. As the

13 junior user with much greater economic power which has saturated the market with advertising and

14 sales of a confusingly similar brand, Defendant has overwhelmed the marketplace power and value

15 of Seattle Metropolitans trademarks. Defendant’s actions have directly negatively impacted sales of

16 authorized Seattle Metropolitans products, especially in this most important holiday buying season,

17 as consumers believe that Defendant’s confusingly branded products are associated with Seattle

18 Metropolitans—an association Defendant has worked towards and intentionally sought as

19 described above.

20          ANSWER: Paragraph 39 states argument and legal conclusions to which no response

21 is required. To the extent a response is required, Defendant denies the allegations in

22 Paragraph 39.

23          40.     Defendant’s infringement is intentional and willful. Adoption and use of the Seattle

24 Metropolitans marks was clearly done to mimic the sight and sound of the well-known “S” logo.

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 1 Defendant’s actions were long planned, dating as far back as 2018 when Defendant’s CEO met

 2 with Seattle Metropolitans, wore its “S” logo jersey and said he would “talk to [Paul] later.”

 3 Defendant sought to take advantage of a relatively unsophisticated individuals, surreptitiously

 4 using the marks without authorization, casually requesting the “S” logo color, all with the

 5 implication of a fair, long-term association, but in fact solely to benefit without any meaningful

 6 expense.

 7           ANSWER: Paragraph 40 states argument and legal conclusions to which no response

 8 is required. To the extent a response is required, Defendant denies the allegations in

 9 Paragraph 40.

10          41.     Defendant has known for years that it needed Seattle Metropolitans’ trademark

11 rights, either by license or acquisition, but has never been willing to a fair and commercially

12 reasonable amount to acquire them, instead offering single season ticket, or a low-ball percentage,

13 or a paltry amount for acquisition. When push came to shove and Defendant absolutely needed

14 rights for its huge Winter Classic campaign and Seattle Metropolitans would not accept token

15 compensation, despite warning to avoid infringement, Defendant could not and did not “go in a

16 different direction.” Instead, Defendant “spent hours upon hours designing the Winter Classic”

17 apparel in an effort to get as close as possible to Seattle Metropolitans, ultimately adopting a

18 virtually identical “S”, red color, white border and white block letter design—including with

19 specific reference to the 1917 Seattle Metropolitans Stanley Cup win—with the specific intention

20 to create the association with Seattle Metropolitans that it so desperately sought to bolster its

21 marketing efforts for the “throwback” Winter Classic.

22          ANSWER: Denied.

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 1          42.     By letter dated December 15, 2023, Seattle Metropolitans notified Defendant of

 2 the trademark infringement and unfair competition and demanded, among other things, that

 3 Defendant cease and desist from its wrongful actions. Defendant refused to take action to promptly

 4 remedy the situation.

 5          ANSWER: Defendant admits that it received a letter from Plaintiff on December 15,

 6 2023, in which Plaintiff falsely accused Defendant of trademark infringement. Defendant

 7 denies the remaining allegations in Paragraph 42.

 8          43.     Defendant’s use of Seattle Metropolitans trademarks have damaged Seattle

 9 Metropolitans in an amount to be proven at trial, but no less than a reasonable royalty

10 commensurate with industry royalties offered by Seattle Metropolitans, Defendant and others, with

11 commercially reasonable terms, and shall further include an amount of money necessary for

12 corrective advertising so that Seattle Metropolitans may reclaim its reputation and goodwill as the

13 only entity associated with Seattle Metropolitans hockey. Damages include not only use of Seattle

14 Metropolitans trademarks on apparel and hockey paraphernalia, but also on generating ticket sales

15 and advertising revenues associated with the Winter Classic so heavily promoted using Seattle

16 Metropolitans brand, goodwill and reputation.

17          ANSWER: Paragraph 43 states argument and legal conclusions to which no response

18 is required. To the extent a response is required, Defendant denies the allegations in

19 Paragraph 43.

20          44.     Defendant has and will continue to unjustly benefit—at Seattle Metropolitans’

21 expense—from gains, profits and advances derived from the promotion and sale of products in

22 association with the confusingly similar marks, and Seattle Metropolitans is entitled to

23 disgorgement of all such profits.

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 1          ANSWER: Paragraph 44 states argument and legal conclusions to which no response

 2 is required. To the extent a response is required, Defendant denies the allegations in

 3 Paragraph 44.

 4          45.     These acts of Defendant have caused and, unless restrained by this Court, will

 5 continue to cause serious and irreparable harm to Seattle Metropolitans and to the goodwill and

 6 reputation associated with Seattle Metropolitans trademarks. Seattle Metropolitans is entitled to

 7 control all use of its marks and confusingly similar marks in association with the provision of

 8 apparel and hockey paraphernalia; to exclusively advertise and provide products in association

 9 with Seattle Metropolitans trademarks; to control the quality of products sold in association with

10 Seattle Metropolitans trademarks; and to have Seattle Metropolitans trademarks or confusingly

11 similar marks identify Seattle Metropolitans as the sole source and origin of apparel and hockey

12 paraphernalia. Therefore, Seattle Metropolitans’ remedy at law is not adequate to compensate for

13 the injury caused and threatened by Defendant’s infringement of its trademark rights and unfair

14 business practices.

15          ANSWER: Paragraph 45 states argument and legal conclusions to which no response

16 is required. To the extent a response is required, Defendant denies the allegations in

17 Paragraph 45.

18                                   V.     CAUSES OF ACTION

19 COUNT 1:        Federal Trademark Infringement:

20          1.     Seattle Metropolitans realleges the preceding paragraphs of this complaint.

21          ANSWER: Defendant incorporates by reference and re-alleges its responses to all

22 previous paragraphs as if fully set forth herein.

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 1          2.      Defendant has, without consent of the Seattle Metropolitans, used in commerce a

 2 reproduction, counterfeit, copy and/or colorable imitation of Seattle Metropolitans’ registered

 3 trademarks in connection with the advertising, offer for sale and sales of apparel and hockey

 4 paraphernalia, and related hockey services, in a manner that is likely to cause confusion, or to

 5 cause mistake, or to deceive in violation of 15 U.S.C. § 1114.

 6          ANSWER: Paragraph 2 states legal conclusions to which no response is required. To

 7 the extent a response is required, Defendant denies the allegations contained in Paragraph

 8 2.

 9 COUNT II:        False Designation of Origin and Unfair Competition.

10          3.      Seattle Metropolitans realleges the preceding paragraphs.

11          ANSWER: Defendant incorporates by reference and re-alleges its responses to all

12 previous paragraphs as if fully set forth herein.

13          4.      Defendant has engaged in false designation of origin and unfair competition by

14 use of Seattle Metropolitans trademarks and trade dress, including the infringing “S” mark

15 incorporating a red color, white border and white block letters, which is confusingly similar to

16 Seattle Metropolitans’ trademark and trade dress, knowingly and willfully creating an affiliation

17 or connection between Defendant and Seattle Metropolitans in order to confuse and mislead the

18 public as to the source of the identical products in violation of 15 U.S.C. § 1125.

19          ANSWER: Paragraph 4 states legal conclusions to which no response is required. To

20 the extent a response is required, Defendant denies the allegations contained in Paragraph

21 4.

22 COUNT III: Consumer Protection Act Violation.

23          5.      Seattle Metropolitans realleges the preceding paragraphs.

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 1          ANSWER: Defendant incorporates by reference and re-alleges its responses to all

 2 previous paragraphs as if fully set forth herein.

 3          6.     Defendant has intentionally confused and misled the public in Washington State

 4 and throughout the country. Defendant’s actions constitute unfair methods of competition and

 5 unfair deceptive acts and practices in the conduct of its trade or business, which were willfully

 6 undertaken. Defendant’s actions have affected and continue to affect the public interest in

 7 Washington State as well as in other parts of the country. Defendant has demonstrated its

 8 propensity for repetition of the wrongful actions. As a direct and causal result of Defendant’s

 9 unfair business practices and unfair and deceptive acts, Seattle Metropolitans has been damaged.

10          ANSWER: Paragraph 6 states legal conclusions to which no response is required. To

11 the extent a response is required, Defendant denies the allegations contained in Paragraph

12 6.

13          7.     Defendant’s actions are in violation of the Washington State Consumer Protection

14 Act, R.C.W. § 19.86.020.

15          ANSWER: Paragraph 7 states legal conclusions to which no response is required. To

16 the extent a response is required, Defendant denies the allegations contained in Paragraph

17 7.

18          8.     Defendant’s adoption of marks confusingly similar to Seattle Metropolitans

19 trademarks and trade dress has caused damage to Seattle Metropolitans at least equivalent to the

20 amount of money necessary to engage in corrective advertising and the amount associated with

21 past and foreseeable future revenues associated with Seattle Metropolitans given its history and

22 commercial success, which amount equals approximately $2.5 million as a good and reasonable

23 approximation of the lost goodwill, or otherwise to be proven at trial.

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 1          ANSWER: Paragraph 8 states argument and legal conclusions to which no response

 2 is required. To the extent a response is required, Defendant denies the allegations in

 3 Paragraph 8.

 4 COUNT IV: Common Law Trademark Infringement

 5          9.      Seattle Metropolitans realleges the preceding paragraphs of this complaint.

 6          ANSWER: Defendant incorporates by reference and re-alleges its responses to all

 7 previous paragraphs as if fully set forth herein.

 8          10.     Seattle Metropolitans trademark and trade dress are entitled to protection because

 9 they are inherently distinctive of Seattle Metropolitans goods and services, including apparel,

10 hockey paraphernalia, and hockey-related services, and because they were used by Seattle

11 Metropolitans long before Defendant adopted confusingly similar marks and intentionally sought

12 to create an association with and trade on the goodwill and reputation of Seattle Metropolitans.

13          ANSWER: Paragraph 10 states argument and legal conclusions to which no

14 response is required. To the extent a response is required, Defendant denies the allegations

15 in Paragraph 10.

16          11.     Defendant has without consent of Seattle Metropolitans and with full knowledge of

17 Seattle Metropolitans rights, used in commerce a reproduction, counterfeit, copy and/or colorable

18 imitation of Seattle Metropolitans trademarks and trade dress in connection with the advertising,

19 offer for sale and sales of apparel and hockey paraphernalia and related hockey services in a manner

20 that is likely to cause confusion, or to cause mistake, or to deceive consumers

21          ANSWER: Paragraph 11 states argument and legal conclusions to which no

22 response is required. To the extent a response is required, Defendant denies the allegations

23 in Paragraph 11.

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 1          12.    Defendant’s adoption of marks confusingly similar to Seattle Metropolitans

 2 trademarks and trade dress has caused damage to Seattle Metropolitans at least equivalent to the

 3 amount of money necessary to engage in corrective advertising and the amount associated with

 4 past and foreseeable future revenues associated with Seattle Metropolitans given its history and

 5 commercial success, which amount equals approximately $2.5 million as a good and reasonable

 6 approximation of the lost goodwill, or otherwise to be proven at trial.

 7          ANSWER: Paragraph 12 states argument and legal conclusions to which no

 8 response is required. To the extent a response is required, Defendant denies the allegations

 9 in Paragraph 12.

10 COUNT V:        Unjust Enrichment

11          13.    Seattle Metropolitans realleges the preceding paragraphs.

12          ANSWER: Defendant incorporates by reference and re-alleges its responses to all

13 previous paragraphs as if fully set forth herein.

14          14.    Defendant has obtained a benefit from the use of marks confusingly similar to

15 Seattle Metropolitans trademarks, and Defendant’s use of marks has caused harm to Seattle

16 Metropolitans. Defendant knew about Seattle Metropolitans trademarks, but nevertheless

17 intentionally and willfully imitated them with the goal to trade on the brand awareness, goodwill

18 and reputation therein.

19          ANSWER: Paragraph 14 states argument and legal conclusions to which no

20 response is required. To the extent a response is required, Defendant denies the allegations

21 in Paragraph 14.

22          15.    Under the circumstances of this case, given the harm caused by Defendant, the

23 knowledge it had of Seattle Metropolitans trademarks, and the benefits obtained by Defendant

24

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 1 through the use of marks confusingly similar to Seattle Metropolitans trademarks, it would be

 2 unjust to allow Defendant to retain any benefits proximately caused by its use of marks

 3 confusingly similar to Seattle Metropolitans trademarks.

 4          ANSWER: Paragraph 15 states argument and legal conclusions to which no

 5 response is required. To the extent a response is required, Defendant denies the allegations

 6 in Paragraph 15.

 7                                  VI.     PRAYER FOR RELIEF

 8          ANSWER: Section VI of Plaintiff’s First Amended Complaint constitutes a Prayer

 9 for Relief, to which no response is required. To the extent a response is required, Defendant

10 denies that Plaintiff is entitled to any relief under any legal theory.

11                          DEFENSES AND AFFIRMATIVE DEFENSES

12          Below are Defendant’s affirmative defenses. By setting forth these affirmative defenses,

13 Defendant does not assume any burden of proof as to any fact issue or other element of any

14 cause of action that properly belongs to Plaintiff. Defendant reserves the right to amend or

15 supplement its affirmative defenses.

16          1.     Some or all of Plaintiff’s claims fail to state a claim upon which relief may be

17 granted.

18          2.     All of Defendant’s actions were undertaken in good faith, for legitimate and

19 lawful reasons, and Defendant is not infringing and has not infringed upon Plaintiff’s alleged

20 intellectual property rights.

21          3.     Any reference Defendant has made to the Seattle Metropolitans has been

22 historical in nature, including any references to the team’s 1917 Stanley Cup win, and thus any

23 use of Plaintiff’s trademarks was nominative fair use.

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 1           4.     Defendant’s use of Plaintiff’s alleged trademark was part of a communicative

 2 message regarding Seattle’s hockey history and was not use in commerce as a source identifier,

 3 and thus Defendant’s use was protected under the First Amendment.

 4           5.     Pending further discovery, Plaintiff’s claim are barred in whole or in part by the

 5 defenses of estoppel, laches, acquiescence, unclean hands, statute(s) of limitation, and other

 6 equitable defenses.

 7           6.     Plaintiff has suffered no injury or damage as a result of any act or conduct by

 8 Defendant.

 9           7.     Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff does not

10 own federal or common law trademark rights in all uses of the allegedly infringed trademarks.

11           8.     Plaintiff’s Consumer Protection Act claim is barred because Defendant’s actions

12 were reasonable in relation to the development and preservation of business or which were not

13 injurious to the public interest.

14           9.      Plaintiff’s claims for injunctive relief are barred, in whole or in part, because

15 Plaintiff is not likely to prevail on the merits of its claims, Plaintiff has not suffered and will not

16 suffer irreparable harm because of Defendant’s alleged conduct, and because Plaintiff has an

17 adequate remedy at law for its alleged injury.

18           10.    Plaintiff’s claims for exemplary damages, litigation expenses, and reasonable

19 attorney’s fees and costs are barred because Plaintiff’s claims have no basis in fact or law.

20 Defendant reserves the right to add further defenses should they become apparent during

21 discovery or trial.

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 1                     COUNTERCLAIM PLAINTIFF’S COUNTERCLAIMS

 2          Counterclaim-Plaintiff Seattle Hockey Partners LLC (“Kraken” or “Defendant”), states

 3 the following on basis of fact and/or information and belief for its Counterclaims against

 4 Counterclaim-Defendant Seattle Metropolitans Hockey LLC (“Plaintiff”).

 5                                I.      NATURE OF THIS ACTION

 6          1.      This action is based, in part, on Plaintiff’s purported trademark rights in the

 7 Seattle Metropolitans word mark and Metropolitans’ “S Seattle” logo for museum services,

 8 including display of memorabilia and artifacts pertaining to a historical Seattle professional ice

 9 hockey team, providing a website featuring information regarding the history of this ice hockey

10 team, conducting guided walking tours of a city and its landmarks, and organizing, arranging,

11 and conducting ice hockey games.

12          2.      In support of its claims, Plaintiff relies on and asserts ownership of federal

13 Registration No. 6777676 for the SEATTLE METROPOLITANS word mark (“the ’676

14 Registration”) and federal Application Ser. No. 98331136 for the “S Seattle” logo (“the ’136

15 Application”), both of which cover “[m]useum services, namely, display of memorabilia and

16 artifacts pertaining to an historical Seattle professional ice hockey team, and providing a website

17 featuring information regarding the history of this ice hockey team; conducting guided walking

18 tours of a city and its landmarks; and organizing, arranging, and conducting of ice hockey

19 games” in International Class 41 (collectively, the “Class 41 Services”).

20          3.      As Plaintiff concedes in its complaint, “Seattle Metropolitans” is the name, and “S

21 Seattle” is the logo, of an historical Seattle professional ice hockey team that played in the

22 Pacific Coast Hockey Association from 1914 to 1924. Thus, “Seattle Metropolitans” and the “S

23 Seattle” logo are the actual subject—and key components—of the museum services “pertaining

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 1 to an historical Seattle professional ice hockey team,” and other Class 41 Services recited in the

 2 ’676 Registration and ’136 Application.

 3          4.      Because “Seattle Metropolitans” and the “S Seattle” logo merely describe an

 4 ingredient, quality, characteristic, function, feature, purpose, or use of the Class 41 Services, they

 5 do not qualify for trademark protection—and are not eligible for federal registration on the

 6 Principal Register—in connection with the Class 41 Services. Rather, to qualify for trademark

 7 protection and registration Plaintiff must show that “Seattle Metropolitans” and the “S Seattle”

 8 logo have acquired distinctiveness or “secondary meaning” as trademarks for the Class 41

 9 Services through long, extensive, continuous, and substantially exclusive use by Plaintiff.

10          5.      Further, to the extent Plaintiff could show any use of “Seattle Metropolitans” and

11 the “S Seattle” logo in the manner of a trademark with Class 41 Services, such use would be too

12 little and for far too short a period for either “Seattle Metropolitans” and the “S Seattle” logo to

13 acquire distinctiveness for the Class 41 Services. Accordingly, neither “Seattle Metropolitans”

14 nor the “S Seattle” logo is sufficiently distinctive to be eligible for registration on the Principal

15 Register and the ’676 Registration must be cancelled and the ’136 Application refused with

16 regard to the Class 41 Services.

17          6.      Likewise, because Plaintiff has not, on information and belief, made bona fide use

18 in commerce of the “Seattle Metropolitans” or the “S Seattle” logo in connection with all (or

19 potentially any) of the recited Class 41 Services, the ’676 Registration must be cancelled as to

20 the Class 41 Services and the ’136 Application refused as each was filed based on a claim of

21 actual use in commerce that is lacking.

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 1                                           II.     PARTIES

 2          7.      Counterclaim-Plaintiff Kraken is a Delaware limited liability company having its

 3 principal place of business in Seattle, Washington. The Kraken is owed by Slapshot LLC, which

 4 is itself owned by FW Puck LLC.

 5          8.      Counterclaim-Defendant Seattle Metropolitans Hockey, LLC is a Washington

 6 limited liability company having its principal place of business in Bellevue, Washington.

 7                               III.    JURISDICTION AND VENUE

 8          9.      This court has subject matter jurisdiction over the Counterclaim-Defendant

 9 pursuant to 15 U.S.C. § 1119, 28 U.S.C. § 1331, and 28 U.S.C. § 1338(a).

10          10.     Counterclaim-Defendant has also consented to the personal jurisdiction of this

11 Court by filing its Amended Complaint.

12          11.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1).

13                     IV.    FACTS COMMON TO ALL COUNTERCLAIMS

14          A.      Seattle Hockey Partners and the Kraken

15          12.     The Kraken are the newest expansion franchise in the NHL, the world’s premier

16 professional hockey league. The Kraken were awarded their franchise in 2018 and played their

17 first NHL game in Seattle in 2021.

18          13.     Named after a mythical sea monster, the Kraken’s brand identity evokes imagery

19 of the Northwest’s nautical heritage. The Kraken selected this identity in July 2020, following a

20 highly publicized naming process, and the Kraken now own several U.S. trademark registrations,

21 including the word mark “Seattle Kraken,” which is the subject of USPTO Reg. No. 6,487,799

22 for International Classes 25 (clothing, including shirts) and 41 (sports services), and two

23 distinctive logos, including the Kraken’s primary logo, shown below.

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 1    The primary logo, which is a stylized “S”
      with an eye (red, when depicted in color) and
 2    tentacle imagery, and which is the subject of
      USPTO Reg. No. 6,450,361 for International
 3    Classes 25 (clothing, including shirts) and 41
      (sports services), and U.S. Copyright Reg.
 4    No. VA0002290189

 5

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 7 A true and correct copy of the Kraken’s ’799 Registration is attached to and incorporated by

 8 reference into the pleadings as Exhibit A. The Kraken’s primary logo has never been used to

 9 refer to other hockey franchises; it has been used exclusively to identify the Kraken.

10          B.      The Seattle Metropolitans and Paul Kim

11          14.     The Seattle Metropolitans were Seattle’s first professional hockey team and

12 played in the Pacific Coast Hockey Association for nine years, from 1915 to 1924. The

13 Metropolitans were the first U.S.-based team to win the Stanley Cup championship, in 1917,

14 when the Stanley Cup was awarded to the winner of the championship game between the Pacific

15 Coast Hockey Association champion and the National Hockey Association champion. Because

16 the Metropolitans were the first professional hockey team in Seattle, and the Stanley Cup has

17 since become the NHL’s championship trophy recognized as the pinnacle of professional ice

18 hockey, the original Metropolitans team has a place in Seattle’s hockey history, despite not

19 playing as a professional team for almost 100 years.

20          15.     On information and belief, Paul Kim is Plaintiff’s principal and a self-described

21 hockey fan.

22          16.     On information and belief, sometime in 2015, Kim set up a website at the domain

23 www.seattle-metropolitans.com as the “unofficial home of the Seattle Metropolitans.” At the

24 time the “About Us” page of the website stated, “This page was created in the hopes of getting

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 1 people together to revive the Seattle Metropolitans. NHL has been voicing their intent to have an

 2 expansion team in Seattle and we believe if we can get enough people to voice our desire to

 3 bring back the first American team to win the Stanley Cup, it can happen.” Likewise, the

 4 “Support Us” page stated, “You can support us by telling your friends and family about Seattle

 5 Metropolitans accomplishments. . . . If you have any skills or ideas that could help us get the

 6 Seattle Metropolitans to come back, please contact us. Let’s work together and bring the

 7 Metropolitans back.” True and correct copies of the main landing page, “About Us” page, and

 8 “Support Us” pages as they were archived by the Internet Archive’s Wayback Machine” in or

 9 about April, May, and July 2015 are attached hereto as Exhibit B.

10          17.    Kim’s site initially included a team “History” page that substantially reproduced,

11 essentially verbatim, a brief history of the historical Seattle Metropolitans from 1915–1924,

12 written by Jeff Obermeyer that had been posed to Obermeyer’s website at

13 www.seattlehockey.net. Indeed, the “History” page included a source acknowledgment at the

14 bottom of the page that linked to a page on Obermeyer’s website containing Obermeyer’s

15 original text set out underneath a caption reading “Seattle Metropolitans” that also included

16 several depictions of team members wearing jerseys bearing the “S Seattle” logo. True and

17 correct copies of Kim’s “History” page and Obermeyer’s “Seattle Metropolitans” page as they

18 were archived in or about April and May 2015 by the Wayback Machine are attached hereto as

19 Exhibit C and Exhibit D.

20          18.    Based on archived pages captured by the Wayback Machine, Obermeyer’s

21 “Seattle Metropolitans” website page featuring information regarding the history of the ice

22 hockey team was continuously available from at least as early as March 2010 through January

23 2022.

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 1          19.     Kim’s site also initially included “Results” and “Stats” pages that compiled game

 2 results, player rosters, and game statistics for all the Seattle Metropolitans hockey team’s seasons

 3 from 1915–1924. The source acknowledgment at the bottom of both pages indicated that the data

 4 had been provided “courtesy of JustSportsStats.com” and included a hyperlink to a page on the

 5 JustSportsStat.com website with the “S Seattle” Logo and “Seattle Metropolitans Franchise

 6 History” caption appearing above links to listings of the team roster, statistics and results

 7 information for the 1915–1924 seasons. True and correct copies of Kim’s “Results” page and

 8 JustSportsStats.com’s “Seattle Metropolitans” page as they were archived in or about August

 9 2015 and June 2017 by the Wayback Machine are attached hereto as Exhibit E and Exhibit F.

10          20.     Today, the JustSportsStats.com domain forwards to JustSportsStats.com’s sister

11 site StatsCrew.com, where a page featuring the same “S Seattle” Logo and “Seattle

12 Metropolitans Franchise History” caption and historic team information continues to be available

13 at https://www.statscrew.com/hockey/t-SEM.

14          21.     On information and belief, in or about 2021, Kim formed Plaintiff Seattle

15 Metropolitans Hockey LLC and, thereafter, continued to operate the website at www.seattle-

16 metropolitans.com through Plaintiff.

17          22.     On information and belief, between 2015 and the present day, neither Kim nor

18 Plaintiff substantively altered, changed, or added to the content of the “History,” “Results” or

19 “Stats” pages.

20          23.     On information and belief, neither Kim nor Plaintiff has any connection to the

21 historical Seattle Metropolitans organization or can claim to be assignee or successor-in-interest

22 in any valid rights in or to any intellectual property developed or at one time owned by the

23 organization. Indeed, as Plaintiff alleges in its complaint, neither it nor Kim claimed any rights in

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 1 the SEATTLE METROPOLITANS word mark prior to 2014. Moreover, Plaintiff’s complaint

 2 contains no allegations that Kim or Plaintiff acquired its alleged trademark rights in the

 3 SEATTLE METROPOLITANS word mark or “S Seattle” logo as part of a chain of ownership

 4 dating back to the historic Seattle Metropolitans hockey team’s use of the marks in 1915–1924.

 5          C.      The Metropolitans’ Museum Services Registration and Application

 6          24.     On March 2, 2021, Plaintiff filed an application with the United States Patent and

 7 Trademark Office (the “Trademark Office”), Ser. No. 90556011, to register the SEATTLE

 8 METROPOLTIANS word mark for, among other things, “[m]useum services, namely display of

 9 memorabilia and artifacts pertaining to the Seattle Metropolitans Hockey Team, and providing

10 information regarding the history of the Seattle Metropolitans Hockey Team; conduct landmark

11 artifact tour; and organizing, arranging and conducting hockey games” in International Class 41.

12 Consistent with Plaintiff’s claim not to rely on any basis for ownership other than its own alleged

13 use, Plaintiff’s application specified December 4, 2015, as its claimed “first use anywhere” date

14 and “first use in commerce” date. Attached and incorporated by reference into the pleadings is

15 Exhibit G, which is a true and correct copy of the Plaintiff’s March 2, 2021, application taken

16 from the Trademark Office’s Trademark Status & Document Retrieval system.

17          25.     In support of the Application, Plaintiff attached as a specimen of use for the

18 recited services in Class 41 screenshots from Plaintiff’s Facebook page and a screenshot from the

19 landing page of Plaintiff’s website as it appeared at the time. The screenshot of the Plaintiff’s

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 1 website shows a “Past Glory” box depicting historic Seattle Metropolitans hockey team

 2 championship banners and brochure.

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     Accordingly, in the context of the page as a whole consumers would not view depictions of
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     “Seattle Metropolitans” (or the “S Seattle” logo) as performing a trademark function in
11
     connection with the Class 41 Services. Rather, consumers would understand “Seattle
12
     Metropolitans” (and the “S Seattle” logo) to function solely as a factual reference to the
13
     historical Seattle Metropolitans ice hockey team that was the subject of the website’s provision
14
     of information about the history of the team. The screenshots from Plaintiff’s Facebook page
15
     likewise do not evidence use of “Seattle Metropolitans” as a trademark for any of the Class 41
16
     Services. Rather, these screenshots at best show the phrase used descriptively in connection with
17
     a few social media posts referencing historic facts about the historic Settle Metropolitans ice
18
     hockey team. Attached and incorporated by reference into the pleadings is Exhibit H, which is a
19
     true and correct copy of the Class 41 specimen Plaintiff filed with its March 2, 2021, application.
20
            26.     On March 14, 2022, Plaintiff filed to amend its Class 41 services description to
21
     read “Museum services, namely, display of memorabilia and artifacts pertaining to an historical
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     Seattle professional ice hockey team, and providing a website featuring information regarding
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 1 the history of this ice hockey team; conducting guided walking tours of a city and its landmarks;

 2 and organizing, arranging, and conducting of ice hockey games.”

 3          27.     Thereafter, the Trademark Office granted the application and the ’676

 4 Registration issued on July 5, 2022.

 5          28.     On December 26, 2023—the same day Plaintiff filed its initial complaint against

 6 the Kraken—Plaintiff also filed the ’136 Application with the Trademark Office seeking to

 7 register the “S Seattle” logo on the Principal Register for the Class 41 Services. Consistent with

 8 Plaintiff’s claim not to rely on any basis for ownership other than its own alleged use, the ’136

 9 Application specified December 4, 2015, as Plaintiff’s claimed “first use anywhere” date and

10 “first use in commerce” date. Attached and incorporated by reference into the pleadings is

11 Exhibit I, which is a true and correct copy of the Metropolitans’ December 26, 2023, application

12 taken from the Trademark Office’s Trademark Status & Document Retrieval system.

13          29.     In support of the ’136 Application, Plaintiff attached a specimen of use consisting

14 of a screenshot from Plaintiff’s website and screenshots from Plaintiff’s Facebook page. The

15 screenshot of the Plaintiff’s website does not show the “S Seattle” logo used as a mark for any of

16 the Class 41 Services; instead, it shows the “Shop” page of Plaintiff’s website showing various

17 items of modern day (i.e., non-historic) apparel adorned with the historic logo offered for

18 purchase online. The screenshots from Plaintiff’s Facebook page likewise do not evidence use of

19 the “S Seattle” logo as a trademark for any of the Class 41 Services. Rather, these screenshots at

20 best show the logo used descriptively in connection with a few social media posts referencing

21 historic facts about the historic Settle Metropolitans ice hockey team. Attached and incorporated

22 by reference into the pleadings is Exhibit J, which is a true and correct copy of the specimen

23 Plaintiff filed with its December 26, 2023, application. This application is still pending, and it

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 1 has not been assigned to an examining attorney at the United States Patent and Trademark

 2 Office.

 3                                    V.      CAUSES OF ACTION

 4 COUNT 1:         Cancellation of U.S. Trademark Registration No. 6777676

 5           1.     The Kraken repeats and incorporates by reference the allegations of the preceding

 6 paragraphs of the Counterclaims as if fully set forth herein.

 7           2.     The Kraken seeks partial cancellation of the ’676 Registration under 15 U.S.C.

 8 §§ 1052(e), 1064(1), and 1119 because “Seattle Metropolitans” is merely descriptive of an

 9 ingredient, quality, characteristic, function, feature, purpose, or use of the Class 41 Services for

10 which Plaintiff sought registration.

11           3.     Matter that “merely describes” the goods or services on or in connection with

12 which it is used is not registrable on the Principal Register absent a showing of acquired

13 distinctiveness under the Trademark Act, 15 U.S.C. § 1052(f).

14           4.     Performance of services involving the display of memorabilia and artifacts and

15 the provision of information pertaining to the historical Seattle Metropolitans hockey team

16 necessitate usage of the phrase “Seattle Metropolitans.” Moreover, given the phrase’s historical

17 meaning and significance, consumers encountering the phrase “Seattle Metropolitans” in the

18 context in which the Class 41 Services are officered will not perceive the use of “Seattle

19 Metropolitans” as functioning as a trademark, i.e., indicating a single commercial source of the

20 services, but rather as a description of the historical Seattle Metropolitans hockey team.

21           5.     To the extent Plaintiff can show that it has made any use of the phrase “Seattle

22 Metropolitans” in connection with the Class 41 Services, such use was neither substantially

23 exclusive nor of a nature, length, and extent to give rise to acquired distinctiveness in the phrase

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 1 “Seattle Metropolitans” in connection with the Class 41 Services, whether as of the time the ‘676

 2 Registration issued or anytime thereafter. This is particularly true in view of the multiple

 3 instances of prior and concurrent use of the phrase “Seattle Metropolitans” in connection with

 4 providing a website featuring information regarding the history of the hockey team, including but

 5 not limited to Jeff Obermeyer’s “Seattle Metropolitans” webpage and JustSportsStats.com’s

 6 “Seattle Metropolitans” webpage, the substantive contents of which Plaintiff had copied. For this

 7 reason, the ’676 Registration should be partially cancelled as to the Class 41 Services.

 8          6.      Pursuant to 15 U.S.C. § 1064, the Kraken has standing to bring this claim because

 9 the Kraken believes that it is being and will be damaged by the continued registration of the ’676

10 Registration for the Class 41 Services insofar as Plaintiff will maintain statutory rights in “Seattle

11 Metropolitans” in connection with the Class 41 Services, when in fact, Plaintiff is not entitled to

12 the full scope of such rights by virtue of the mere descriptiveness of the phrase and the absence

13 of any acquired distinctiveness as of the date of registration, and insofar as Plaintiff seeks to rely

14 on such rights in this action to prevent the Kraken from using “Seattle Metropolitans” to refer to

15 the history of the historical Seattle Metropolitans hockey team as part of Seattle’s hockey history.

16 COUNT 2:         Partial Cancellation of U.S. Trademark Registration No. 6777676 (No Use in

17 Commerce)

18          1.      The Kraken repeats and incorporates by reference the allegations of the preceding

19 paragraphs of the Counterclaims as if fully set forth herein.

20          2.      The Kraken seeks partial cancellation of the ’676 Registration under 15 U.S.C.

21 §§ 1051(a), 1053, 1064(1), and 1119 because Plaintiff, on information and belief, was not

22 making and, for a continuous period of at least three or more years prior had not made, bona fide

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 1 use of “Seattle Metropolitans” in commerce in connection with all of the Class 41 Services as of

 2 ’676 Registration’s application filing date.

 3          3.      Under 15 U.S.C. § 1051(a), only the “owner of a trademark used in commerce

 4 may request registration of its trademark.” This provision is made applicable to service marks

 5 under Section 3 of the Act, 15 U.S.C. § 1053. Thus, for an application filed on the basis of actual

 6 use, use in commerce must have been made before the filing date of the application or the

 7 application is void.

 8          4.      Under 15 U.S.C. § 1127, the term “use in commerce” means “the bona fide use of

 9 a mark in the ordinary course of trade, and not made merely to reserve a right in a mark.”

10          5.      On information and belief, as of the March 2, 2021, application filing date for the

11 ‘676 Registration, Plaintiff was not making and, for a continuous period of at least three or more

12 years prior had not made, bona fide use of “Seattle Metropolitans” as a mark in connection with

13 all of the Class 41 Services in any type of commerce that can be regulated by the U.S. Congress.

14          6.      Accordingly, Plaintiff could not claim actual use of the applied for “Seattle

15 Metropolitans” mark in connection with all of the recited Class 41 Services as of the filing date

16 of the ’676 Registration, and the ’676 Registration is void ab initio as to those Class 41 Services

17 for which there was no use.

18          7.      Pursuant to 15 U.S.C. § 1064, the Kraken has standing to bring this claim because

19 the Kraken believes that it is being and will be damaged by the continued registration of the ’676

20 Registration for the Class 41 Services insofar as Plaintiff will maintain statutory rights in “Seattle

21 Metropolitans” in connection with the Class 41 Services, when in fact, Plaintiff is not entitled to

22 the full scope of such rights by virtue of Plaintiff’s lack of use of the mark in commerce for the

23 Class 41 Services as of the application filing date.

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 1 COUNT 3:         Refusal of U.S. Trademark Registration Application No. 98331136 (Mere

 2 Descriptiveness)

 3          1.      The Kraken repeats and incorporates by reference the allegations in the preceding

 4 paragraphs of the Counterclaims as if fully set forth herein.

 5          2.      The Kraken seeks refusal of the ’136 Application under 15 U.S.C. §§ 1052(e),

 6 1063(a), and 1119 because the “S Seattle” logo is merely descriptive of an ingredient, quality,

 7 characteristic, function, feature, purpose, or use of the Class 41 Services for which Plaintiff seeks

 8 registration.

 9          3.      Performance of services involving the display of memorabilia and artifacts and

10 the provision of information pertaining to the historical Seattle Metropolitans hockey team

11 necessitate usage of the “S Seattle” logo. Moreover, given the logo’s historical meaning and

12 significance, consumers encountering the “S Seattle” logo in the context in which the Class 41

13 Services are offered will not perceive the use of the “S Seattle” logo as functioning as a

14 trademark, i.e., indicating a single commercial source of the services, but rather as a description

15 of the historical Seattle Metropolitans hockey team.

16          4.      To the extent Plaintiff can show that it has made any use of the “S Seattle” logo in

17 connection with the Class 41 Services, such use was neither substantially exclusive nor of a

18 nature, length, and extent to give rise to acquired distinctiveness in the “S Seattle” logo in

19 connection with the Class 41 Services, whether as of the time the ’136 Application was filed or

20 anytime thereafter. This is particularly true in view of the multiple instances of prior and

21 concurrent use of the “S Seattle” logo in connection with providing a website featuring

22 information regarding the history of the hockey team. For this reason, the ’136 Application

23 should be refused.

24

     ANSWER TO FIRST AMENDED COMPLAINT                                          Davis Wright Tremaine LLP
     AND COUNTERCLAIMS (2:23-cv-1989JLR) - 44                                            L AW O FFICE S
                                                                                   920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
             Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 45 of 138



 1           5.     Pursuant to 15 U.S.C. § 1064, the Kraken has standing to bring this claim because

 2 the Kraken believes that it will be damaged by the registration of the “S Seattle” logo for the

 3 Class 41 Services insofar as Plaintiff will obtain statutory rights in the “S Seattle” logo in

 4 connection with the Class 41 Services, when in fact, Plaintiff is not entitled to the full scope of

 5 such rights by virtue of the mere descriptiveness of the logo and the absence of any acquired

 6 distinctiveness as of the application filing date, and insofar as Plaintiff seeks to rely on such

 7 rights in this action to prevent the Kraken from using the “S Seattle” logo to refer to the history

 8 of the historical Seattle Metropolitans hockey team as part of Seattle’s hockey history.

 9 COUNT 4:         Refusal of U.S. Trademark Registration Application No. 98331136 (No Use in

10 Commerce)

11           1.     The Kraken repeats and incorporates by reference the allegations in the preceding

12 paragraphs of the Counterclaims as if fully set forth herein.

13           2.     The Kraken seek refusal of ’136 Application under § 1163(a) because Plaintiff, on

14 information and belief, was not making and, for a continuous period of at least three or more

15 years prior had not made, bona fide use of the “S Seattle” logo in commerce for all of the Class

16 41 Services recited in the ‘136 Application.

17           3.     On information and belief, as of the December 26, 2023 application filing date for

18 the ’136 Application, Plaintiff was not making and, for a continuous period of at least three or

19 more years prior had not made, bona fide use of the “S Seattle” logo as a trademark in

20 connection with some or all of the Class 41 Services in any type of commerce that can be

21 regulated by the U.S. Congress. Accordingly, Plaintiff cannot claim actual use of the applied for

22 “S Seattle” logo in connection with those Class 41 Services and the ’136 Application is void ab

23 initio.

24

     ANSWER TO FIRST AMENDED COMPLAINT                                           Davis Wright Tremaine LLP
     AND COUNTERCLAIMS (2:23-cv-1989JLR) - 45                                             L AW O FFICE S
                                                                                    920 Fifth Avenue, Suite 3300
                                                                                      Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
             Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 46 of 138



 1          9.      Pursuant to 15 U.S.C. §§ 1063, 1119, the Kraken has standing to bring this claim

 2 because the Kraken will be damaged by the registration of the ’136 Application insofar as

 3 Plaintiff will obtain statutory rights in the “S Seattle” logo in connection with the Class 41

 4 Services, when in fact Plaintiff is not entitled to the full scope of such rights by virtue of its lack

 5 of use of the “S Seattle” logo in commerce for the Class 41 Services as of the application filing

 6 date.

 7                                        PRAYER FOR RELIEF

 8          WHEREFORE, the Kraken prays for judgment as follows:

 9          1.      That Plaintiff take nothing by way of the First Amended Complaint;

10          2.      That the First Amended Complaint and its purported causes of action be dismissed

11 with prejudice;

12          3.      That the Court award Defendant its fees, expenses, and costs to the full extent

13 permitted by law; and

14          4.      That the Court award such other relief as it deems just and proper under the

15 circumstances.

16          5.      Directing, pursuant to Section 37 of the Lanham Act, 15 U.S.C. § 1119, the partial

17 cancellation of U.S. Trademark Registration Number 6777676 as to the Class 41 Services and the

18 refusal of U.S. Application Serial No. 98331136.

19          6.      That Defendant be awarded such other relief as the Court deems just, lawful, or

20 equitable.

21                                        JURY TRIAL DEMAND

22          The Kraken respectfully demand a trial by jury on all claims and issues so triable.

23

24

     ANSWER TO FIRST AMENDED COMPLAINT                                            Davis Wright Tremaine LLP
     AND COUNTERCLAIMS (2:23-cv-1989JLR) - 46                                              L AW O FFICE S
                                                                                     920 Fifth Avenue, Suite 3300
                                                                                       Seattle, WA 98104-1610
                                                                                206.622.3150 main · 206.757.7700 fax
            Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 47 of 138



 1         DATED 26th day of February, 2024.

 2                                              Davis Wright Tremaine LLP
                                                Attorneys for Defendant Seattle Hockey
 3                                              Partners LLC

 4                                              s/ Bonnie MacNaughton
                                                Bonnie MacNaughton, WSBA # 36110
 5                                              920 Fifth Avenue, Suite 3300
                                                Seattle, WA 98104-1604
 6                                              Tel: (206) 622-3150
                                                Fax: (206) 757-7700
 7                                              Email: bonniemacnaughton@dwt.com

 8                                              s/ John D. Freed
                                                John D. Freed, Pro Hac Vice
 9                                              50 California Street, Floor 23
                                                San Francisco, CA 94111
10                                              Tel: (415) 276-6500
                                                Fax: (415) 276-6599
11                                              Email: jakefreed@dwt.com

12

13

14

15

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22

23

24

     ANSWER TO FIRST AMENDED COMPLAINT                                   Davis Wright Tremaine LLP
     AND COUNTERCLAIMS (2:23-cv-1989JLR) - 47                                     L AW O FFICE S
                                                                            920 Fifth Avenue, Suite 3300
                                                                              Seattle, WA 98104-1610
                                                                       206.622.3150 main · 206.757.7700 fax
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 48 of 138




                    EXHIBIT A
                        Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 49 of 138


       Generated on: This page was generated by TSDR on 2024-02-22 16:17:50 EST
                 Mark: SEATTLE KRAKEN




  US Serial Number: 90065011                                                        Application Filing Jul. 21, 2020
                                                                                                Date:
     US Registration 6487799                                                       Registration Date: Sep. 14, 2021
           Number:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.
         Status Date: Sep. 14, 2021
Publication Date:Dec. 15, 2020Notice of Allowance Date:Feb. 09, 2021

                                                                   Mark Information
          Mark Literal SEATTLE KRAKEN
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
          Disclaimer: "SEATTLE"

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Clothing, namely, bandanas, baseball caps, beach cover-ups, belts, body suits, boxer shorts, cloth bibs, coats, dresses, footwear, ear
                       muffs, gloves, hats, headbands, hosiery, housecoats, jackets, jerseys, leggings, leotards, mittens, nightshirts, pajamas, pants, rain
                       coats, rain wear, robes, scarves, shirts, shorts, skirts, socks, suits, sun visors being headwear, suspenders, sweaters, sweatpants,
                       sweatshirts, swimsuits, swim trunks, t-shirts, ties, toques, underwear, vests, warm-up suits and wristbands
         International 025 - Primary Class                                              U.S Class(es): 022, 039
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Jul. 23, 2020                                               Use in Commerce: Jul. 23, 2020

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: Yes
            Filed ITU: Yes                                                              Currently ITU: No
            Filed 44D: No                                                              Currently 44D: No
            Filed 44E: No                                                               Currently 44E: No
                       Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 50 of 138

            Filed 66A: No                                               Currently 66A: No
      Filed No Basis: No                                            Currently No Basis: No

                                              Current Owner(s) Information
          Owner Name: SEATTLE HOCKEY PARTNERS LLC
     Owner Address: 10601 5th Avenue NE
                    Seattle, WASHINGTON UNITED STATES 98125
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country DELAWARE
                                                                     Where Organized:

                                         Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Thomas H. Prochnow
    Attorney Primary tprochnow@nhl.com                                  Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                Correspondent
      Correspondent Thomas H. Prochnow
      Name/Address: NHL Enterprises, L.P.
                    395 Ninth Avenue
                    One Manhattan West
                    New York, NEW YORK UNITED STATES 10001
                Phone: (212) 789-2000                                              Fax: (212) 789-2727
   Correspondent e- gbueti@nhl.com tprochnow@nhl.com LMcEvoy@        Correspondent e- Yes
              mail: nhl.com anunez@nhl.com                            mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                         Proceeding
   Date              Description
                                                                                                         Number
Sep. 29, 2022      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Sep. 29, 2022      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Sep. 29, 2022      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Sep. 29, 2022      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 29, 2022      TEAS CHANGE OF OWNER ADDRESS RECEIVED
Nov. 04, 2021      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Nov. 04, 2021      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Nov. 04, 2021      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 14, 2021      REGISTERED-PRINCIPAL REGISTER
Aug. 12, 2021      NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
Aug. 11, 2021      ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Aug. 10, 2021      STATEMENT OF USE PROCESSING COMPLETE
Jul. 29, 2021      USE AMENDMENT FILED
Aug. 10, 2021      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Jul. 29, 2021      TEAS STATEMENT OF USE RECEIVED
May 19, 2021       ASSIGNMENT OF OWNERSHIP NOT UPDATED AUTOMATICALLY
Feb. 09, 2021      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Dec. 15, 2020      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Dec. 15, 2020      PUBLISHED FOR OPPOSITION
Nov. 25, 2020      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Nov. 09, 2020      APPROVED FOR PUB - PRINCIPAL REGISTER
Nov. 04, 2020      EXAMINER'S AMENDMENT ENTERED
Nov. 04, 2020      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED
Nov. 04, 2020      EXAMINERS AMENDMENT E-MAILED
Nov. 04, 2020      EXAMINERS AMENDMENT -WRITTEN
Nov. 04, 2020      ASSIGNED TO EXAMINER
                        Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 51 of 138

Aug. 19, 2020       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Jul. 24, 2020       NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                           TM Staff Information - None
                                                                  File Location
   Current Location: PUBLICATION AND ISSUE SECTION                    Date in Location: Aug. 11, 2021

                                         Assignment Abstract Of Title Information
   Summary
 Total Assignments: 2                                                       Registrant: SEATTLE HOCKEY PARTNERS LLC

                                                       Assignment 1 of 2

        Conveyance: SECURITY INTEREST
         Reel/Frame: 7278/0059                                                    Pages: 7
      Date Recorded: May 03, 2021
          Supporting assignment-tm-7278-0059.pdf
         Documents:
                                                                    Assignor
                  Name: SEATTLE HOCKEY PARTNERS LLC                    Execution Date: Apr. 30, 2021
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country DELAWARE
                                                                     Where Organized:
                                                                    Assignee
                  Name: NATIONAL HOCKEY LEAGUE
   Legal Entity Type: UNINC. ASSOCIATION                              State or Country NEW YORK
                                                                     Where Organized:
                Address: 1185 AVENUE OF THE AMERICAS
                         NEW YORK, NEW YORK 10036
                                                                 Correspondent
      Correspondent AL LUCIA
             Name:
      Correspondent PROSKAUER ROSE LLP
           Address: ELEVEN TIMES SQUARE
                    NEW YORK, NY 10036-8299
                                                       Domestic Representative - Not Found

                                                              Assignment 2 of 2

        Conveyance: TRADEMARK SECURITY AGREEMENT
         Reel/Frame: 7282/0943                                                    Pages: 7
      Date Recorded: May 06, 2021
          Supporting assignment-tm-7282-0943.pdf
         Documents:
                                                                    Assignor
                  Name: SEATTLE HOCKEY PARTNERS LLC                    Execution Date: Apr. 30, 2021
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country DELAWARE
                                                                     Where Organized:
                                                                    Assignee
                  Name: CITIBANK, N.A.
   Legal Entity Type: NATIONAL BANKING ASSOCIATION                    State or Country ALABAMA
                                                                     Where Organized:
                Address: 153 EAST 53RD STREET, 18TH FLOOR
                         THE CITIGROUP PRIVATE BANK, ATTENTION: JOHN GLEESON
                         NEW YORK, NEW YORK 10022
                                                                 Correspondent
      Correspondent SHOKO NARUO
             Name:
                      Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 52 of 138


      Correspondent ONE US BANK PLAZA
           Address: THOMPSON COBURN LLP
                    ST. LOUIS, MO 63101
                                                           Domestic Representative - Not Found

                                                                 Proceedings
    Summary
          Number of 2
        Proceedings:

                                                    Type of Proceeding: Opposition

            Proceeding 91283166                                                  Filing Date: Feb 01, 2023
              Number:
               Status: Terminated                                               Status Date: May 03, 2023
           Interlocutory YONG OH (RICHARD) KIM
               Attorney:
                                                                      Defendant
                Name: Sean Halligan
      Correspondent SEAN HALLIGAN
           Address: 10210 NE CASEY ST
                    BAINBRIDGE ISLAND WA UNITED STATES , 98110
    Correspondent e- sean_hal@msn.com , tmapp@legalzoom.com
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                              Application Status       Serial Number
                                                                                                                                 Number
KRAK ADDIKT                                                                                                  97127153
                                                                      Plaintiff(s)
                Name: Seattle Hockey Partners LLC
      Correspondent JIA WANG
           Address: NHL ENTERPRISES, L.P.
                    ONE MANHATTAN WEST, 395 NINTH AVENUE
                    NEW YORK NY UNITED STATES , 10001
    Correspondent e- jwang@nhl.com , tprochnow@nhl.com , anunez@nhl.com , klynch@nhl.com , gbueti@nhl.com
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                              Application Status       Serial Number
                                                                                                                                 Number
SEATTLE KRAKEN                                                                                               90065011          6487799
SEATTLE KRAKEN                                                                                               90065020          6577557
S                                                                                                            90068889          6450361
S                                                                                                            90068891          6577561
                                                                  Prosecution History
    Entry Number           History Text                                                                        Date              Due Date
6                       TERMINATED                                                                           May 03, 2023
5                       BD DECISION: OPP SUSTAINED                                                           May 03, 2023
4                       NOTICE OF DEFAULT                                                                    Mar 24, 2023
3                       INSTITUTED                                                                           Feb 01, 2023
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                             Feb 01, 2023      Mar 13, 2023
1                       FILED AND FEE                                                                        Feb 01, 2023

                                                           Type of Proceeding: Opposition

            Proceeding 91280858                                                  Filing Date: Oct 05, 2022
              Number:
               Status: Terminated                                               Status Date: Jan 09, 2023
           Interlocutory ASHLEY D HAYES
               Attorney:
                     Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 53 of 138

                                                                     Defendant
              Name: Thomas Banas
      Correspondent MARK BORGHESE
           Address: BORGHESE LEGAL, LTD.
                    10161 PARK RUN DRIVE, SUITE 150
                    LAS VEGAS NV UNITED STATES , 89145
    Correspondent e- mark@borgheselegal.com , docket@borgheselegal.com
               mail:
Associated marks
                                                                                                                                  Registration
    Mark                                                                            Application Status     Serial Number
                                                                                                                                  Number
KRAK 'EM                                                                                                 90799563
                                                                     Plaintiff(s)
              Name: Seattle Hockey Partners LLC
      Correspondent ANNA ROSENBLATT
           Address: NHL ENTERPRISES, L.P.
                    ONE MANHATTAN WEST, 395 NINTH AVENUE
                    NEW YORK NY UNITED STATES , 10001
    Correspondent e- arosenblatt@nhl.com , tprochnow@nhl.com , klynch@nhl.com , jwang@nhl.com , anunez@nhl.com , gbueti@nhl.com , stephen.john@
               mail: nhl.com , jkuh@nhl.com
Associated marks
                                                                                                                                  Registration
    Mark                                                                            Application Status     Serial Number
                                                                                                                                  Number
SEATTLE KRAKEN                                                                                           90065011              6487799
SEATTLE KRAKEN                                                                                           90065020              6577557
                                                                 Prosecution History
    Entry Number          History Text                                                                     Date                   Due Date
6                      TERMINATED                                                                        Jan 09, 2023
5                      BD DECISION: OPP SUSTAINED                                                        Jan 09, 2023
4                      NOTICE OF DEFAULT                                                                 Nov 25, 2022
3                      INSTITUTED                                                                        Oct 05, 2022
2                      NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Oct 05, 2022          Nov 14, 2022
1                      FILED AND FEE                                                                     Oct 05, 2022
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 54 of 138




                    EXHIBIT B
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 55 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 56 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 57 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 58 of 138




                    EXHIBIT C
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 59 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 60 of 138




                    EXHIBIT D
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 61 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 62 of 138




                    EXHIBIT E
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 63 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 64 of 138




                     EXHIBIT F
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 65 of 138
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 66 of 138




                    EXHIBIT G
                                     Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 67 of 138


PTO- 1478
Approved for use through 02/28/2021. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                               Trademark/Service Mark Application, Principal Register
                                                                                                         Serial Number: 90556011
                                                                                                         Filing Date: 03/02/2021


                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                       Entered
              SERIAL NUMBER                                                                                                        90556011
              MARK INFORMATION
              *MARK                                                                                                                SEATTLE METROPOLITANS
              STANDARD CHARACTERS                                                                                                  YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      SEATTLE METROPOLITANS
                                                                                                                                   The mark consists of standard characters, without claim to any
              MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Seattle Metropolitans Hockey LLC
              INTERNAL ADDRESS                                                                                                     Unit 1226
              *MAILING ADDRESS                                                                                                     10650 NE 9th Place
              *CITY                                                                                                                Bellevue
              *STATE
                                                                                                                                   Washington
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   98004
              (Required for U.S. and certain international addresses)

              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              TYPE                                                                                                                 limited liability company
              STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY
                                                                                                                                   Washington
              WHERE LEGALLY ORGANIZED

              GOODS AND/OR SERVICES AND BASIS INFORMATION
               INTERNATIONAL CLASS                                                                                                 036
                                                                                                                                   Fundraising to help failing local small businesses, and to raise
              *IDENTIFICATION
                                                                                                                                   funds for youth hockey programs and skating rinks
              FILING BASIS                                                                                                         SECTION 1(a)
                     FIRST USE ANYWHERE DATE                                                                                       At least as early as 12/04/2015
                     FIRST USE IN COMMERCE DATE                                                                                    At least as early as 12/04/2015
                     SPECIMEN FILE NAME(S)
           Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 68 of 138


                                           SPE0-1-24175316-202103021
   ORIGINAL PDF FILE                       35926444005_._SEATTLE_MET ROPOLITANS_-
                                           _Class_36.pdf

   CONVERTED PDF FILE(S)                   \\TICRS\EXPORT18\IMAGEOUT
   (7 pages)                               18\905\560\90556011\xml1\ APP0003.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0004.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0005.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0006.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0007.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0008.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0009.JPG
                                           screenshots from Applicant's Facebook page showing use of
   SPECIMEN DESCRIPTION
                                           the mark in connection with the services
                                           https://www.facebook.com/793847297292770/posts/10679832
   WEBPAGE URL
                                           63212504/?d=n
   WEBPAGE DATE OF ACCESS                  03/02/2021
   WEBPAGE URL                             https://www.facebook.com/seattlemetros
   WEBPAGE DATE OF ACCESS                  03/02/2021
INTERNATIONAL CLASS                        041
                                           Museum services, namely display of memorabilia and artifacts
                                           pertaining to the Seattle Metropolitans Hockey Team, and
*IDENTIFICATION                            providing information regarding the history of the Seattle
                                           Metropolitans Hockey Team; conducting landmark artifact
                                           tour; and organizing, arranging, and conducting hockey games
FILING BASIS                               SECTION 1(a)
   FIRST USE ANYWHERE DATE                 At least as early as 12/04/2015
   FIRST USE IN COMMERCE DATE              At least as early as 12/04/2015
   SPECIMEN FILE NAME(S)

                                           SPE0-24175316-20210302135
   ORIGINAL PDF FILE                       926444005_._SEATTLE_METRO POLITANS_-
                                           _Class_41.pdf

   CONVERTED PDF FILE(S)                   \\TICRS\EXPORT18\IMAGEOUT
   (7 pages)                               18\905\560\90556011\xml1\ APP0010.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0011.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0012.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\905\560\90556011\xml1\ APP0013.JPG
            Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 69 of 138


                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\905\560\90556011\xml1\ APP0014.JPG

                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\905\560\90556011\xml1\ APP0015.JPG

                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\905\560\90556011\xml1\ APP0016.JPG
                                                screenshots from Applicant's website and Facebook page
  SPECIMEN DESCRIPTION
                                                showing use of the mark in connection with the services
   WEBPAGE URL                                  http://seattle-metropolitans.com/
   WEBPAGE DATE OF ACCESS                       03/02/2021
   WEBPAGE URL                                  https://www.facebook.com/seattlemetros
   WEBPAGE DATE OF ACCESS                       03/02/2021
ATTORNEY INFORMATION
NAME                                            E. Russell Tarleton
ATTORNEY DOCKET NUMBER                          540101.20001
ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
YEAR OF ADMISSION                               XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
FIRM NAME                                       Seed IP Law Group LLP
INTERNAL ADDRESS                                Suite 5400
STREET                                          701 Fifth Avenue
CITY                                            Seattle
STATE                                           Washington
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
ZIP/POSTAL CODE                                 98104
PHONE                                           206-622-4900
FAX                                             206-682-6031
EMAIL ADDRESS                                   USTM.docketing@SeedIP.com
                                                Kevin S. Costanza, Jared M. Barrett, Hayley J. Talbert, Syed
                                                Abedi, Duncan Stark, Russell C. Pangborn, Marc C. Levy,
OTHER APPOINTED ATTORNEY
                                                Brooke W. Quist, Kevan L. Morgan, Stephen J. Rosenman,
                                                Bradley Zentz, Brigid C. Mahoney, and Thomas A. Shewmake
CORRESPONDENCE INFORMATION
NAME                                            E. Russell Tarleton
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        USTM.docketing@SeedIP.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   NOT PROVIDED
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Standard
NUMBER OF CLASSES                               2
APPLICATION FOR REGISTRATION PER CLASS          350
            Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 70 of 138


*TOTAL FEES DUE                             700
*TOTAL FEES PAID                            700
SIGNATURE INFORMATION
SIGNATURE                                   /E. Russell Tarleton/
SIGNATORY'S NAME                            Tarleton, E. Russell
SIGNATORY'S POSITION                        Attorney for Applicant, Washington State Bar Member
SIGNATORY'S PHONE NUMBER                    206-622-4900
DATE SIGNED                                 03/02/2021
SIGNATURE METHOD                            Sent to third party for signature
                                     Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 71 of 138

PTO- 1478
Approved for use through 02/28/2021. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                Trademark/Service Mark Application, Principal Register

                                                                                                         Serial Number: 90556011
                                                                                                         Filing Date: 03/02/2021
To the Commissioner for Trademarks:

MARK: SEATTLE METROPOLITANS (Standard Characters, see mark)
The literal element of the mark consists of SEATTLE METROPOLITANS. The mark consists of standard characters, without claim to any
particular font style, size, or color.
The applicant, Seattle Metropolitans Hockey LLC, a limited liability company legally organized under the laws of Washington, having an
address of
    Unit 1226
    10650 NE 9th Place
    Bellevue, Washington 98004
    United States
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 036: Fundraising to help failing local small businesses, and to raise funds for youth hockey programs and skating rinks

In International Class 036, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 12/04/2015, and first used in commerce at least as early as 12/04/2015, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) screenshots from Applicant's Facebook page showing use of the mark in connection with the services.

Original PDF file:
SPE0-1-24175316-202103021 35926444005_._SEATTLE_MET ROPOLITANS_-_Class_36.pdf
Converted PDF file(s) (7 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Specimen File7
Webpage URL: https://www.facebook.com/793847297292770/posts/1067983263212504/?d=n
Webpage Date of Access: 03/02/2021
Webpage URL: https://www.facebook.com/seattlemetros
Webpage Date of Access: 03/02/2021

International Class 041: Museum services, namely display of memorabilia and artifacts pertaining to the Seattle Metropolitans Hockey Team,
and providing information regarding the history of the Seattle Metropolitans Hockey Team; conducting landmark artifact tour; and organizing,
arranging, and conducting hockey games

In International Class 041, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 12/04/2015, and first used in commerce at least as early as 12/04/2015, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) screenshots from Applicant's website and Facebook page showing use of the mark in connection with the
services.

Original PDF file:
SPE0-24175316-20210302135 926444005_._SEATTLE_METRO POLITANS_-_Class_41.pdf
Converted PDF file(s) (7 pages)
                     Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 72 of 138


Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Specimen File7
Webpage URL: http://seattle-metropolitans.com/
Webpage Date of Access: 03/02/2021
Webpage URL: https://www.facebook.com/seattlemetros
Webpage Date of Access: 03/02/2021



The owner's/holder's proposed attorney information: E. Russell Tarleton. Other appointed attorneys are Kevin S. Costanza, Jared M. Barrett,
Hayley J. Talbert, Syed Abedi, Duncan Stark, Russell C. Pangborn, Marc C. Levy, Brooke W. Quist, Kevan L. Morgan, Stephen J. Rosenman,
Bradley Zentz, Brigid C. Mahoney, and Thomas A. Shewmake. E. Russell Tarleton of Seed IP Law Group LLP, is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at
    Suite 5400
    701 Fifth Avenue
    Seattle, Washington 98104
    United States
    206-622-4900(phone)
    206-682-6031(fax)
    USTM.docketing@SeedIP.com
The docket/reference number is 540101.20001.
E. Russell Tarleton submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
    E. Russell Tarleton
     PRIMARY EMAIL FOR CORRESPONDENCE: USTM.docketing@SeedIP.com                           SECONDARY EMAIL ADDRESS(ES)
(COURTESY COPIES): NOT PROVIDED


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $700 has been submitted with the application, representing payment for 2 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
                     Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 73 of 138


        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /E. Russell Tarleton/ Date: 03/02/2021
Signatory's Name: Tarleton, E. Russell
Signatory's Position: Attorney for Applicant, Washington State Bar Member
Signatory's Phone Number: 206-622-4900
Signature method: Sent to third party for signature
Payment Sale Number: 90556011
Payment Accounting Date: 03/02/2021

Serial Number: 90556011
Internet Transmission Date: Tue Mar 02 18:06:02 ET 2021
TEAS Stamp: USPTO/BAS-XX.XX.XX.XX-202103021806023864
59-90556011-77092ad5e3819b0485869423e2b3
3852f9dba0854fa437f418c430472d79c3dce4-C
C-06014869-20210302135926444005
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                    EXHIBIT H
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Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 101 of 138
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Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 103 of 138
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                      EXHIBIT I
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Approved for use through 10/31/2024. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                               Trademark/Service Mark Application, Principal Register
                                                                                                         Serial Number: 98331136
                                                                                                         Filing Date: 12/26/2023


                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                       Entered
              SERIAL NUMBER                                                                                                        98331136
              MARK INFORMATION
                                                                                                                                   \\TICRS\EXPORT18\IMAGEOUT
              *MARK
                                                                                                                                   18\983\311\98331136\xml1 \ APP0002.JPG
              SPECIAL FORM                                                                                                         YES
              USPTO-GENERATED IMAGE                                                                                                NO
              LITERAL ELEMENT                                                                                                      S, SEATTLE
              COLOR MARK                                                                                                           NO
                                                                                                                                   The mark consists of the letter "S" containing the word
              *DESCRIPTION OF THE MARK                                                                                             SEATTLE running from the top of the letter to the bottom with
              (and Color Location, if applicable)                                                                                  the letters evenly spaced throughout. The letter "S" is solid
                                                                                                                                   with a solid line boarder.
              PIXEL COUNT ACCEPTABLE                                                                                               NO
              PIXEL COUNT                                                                                                          165 x 149
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Seattle Metropolitans Hockey LLC
              *MAILING ADDRESS                                                                                                     10650 NE 9th Place, Unit 1226
              *CITY                                                                                                                Bellevue
              *STATE
              (Required for U.S. applicants)
                                                                                                                                   Washington

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   98004
              (Required for U.S. and certain international addresses)

              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              TYPE                                                                                                                 limited liability company
              STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY
                                                                                                                                   Washington
              WHERE LEGALLY ORGANIZED

              GOODS AND/OR SERVICES AND BASIS INFORMATION
               INTERNATIONAL CLASS                                                                                                 041
                                                                                                                                   Museum services, namely, display of memorabilia and artifacts
                                                                                                                                   pertaining to an historical Seattle professional ice hockey team,
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                                           and providing a website featuring information regarding the
*IDENTIFICATION
                                           history of this ice hockey team; conducting guided walking
                                           tours of a city and its landmarks; and organizing, arranging,
                                           and conducting of ice hockey games
FILING BASIS                               SECTION 1(a)
   FIRST USE ANYWHERE DATE                 At least as early as 12/04/2015
   FIRST USE IN COMMERCE DATE              At least as early as 12/04/2015
   SPECIMEN FILE NAME(S)

                                           SPE0-9712675229-202312261 94301339461_._Seattle_Met
   ORIGINAL PDF FILE
                                           ropolitans_S_logo_specime n_Class_041.pdf

   CONVERTED PDF FILE(S)                   \\TICRS\EXPORT18\IMAGEOUT
   (13 pages)                              18\983\311\98331136\xml1\ APP0003.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0004.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0005.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0006.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0007.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0008.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0009.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0010.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0011.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0012.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0013.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0014.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\983\311\98331136\xml1\ APP0015.JPG

                                           Screenshots from Applicant's website and Facebook page
   SPECIMEN DESCRIPTION
                                           showing use of the mark in connection with the services
                                           seattle-metropolitans.com/shop;
   WEBPAGE URL
                                           https://www.facebook.com/seattlemetros
   WEBPAGE DATE OF ACCESS                  12/26/2023
   WEBPAGE URL                             None Provided
   WEBPAGE DATE OF ACCESS                  None Provided
ATTORNEY INFORMATION
         Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 107 of 138


NAME                                            Mark V. Jordan
ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
YEAR OF ADMISSION                               XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
FIRM NAME                                       Bracepoint Law, P.S.
STREET                                          2775 Harbor Avenue SW, Suite D
CITY                                            Seattle
STATE                                           Washington
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
ZIP/POSTAL CODE                                 98126
PHONE                                           206-212-0030
EMAIL ADDRESS                                   mjordan@bracepointlaw.com
OTHER APPOINTED ATTORNEY                        Steve Edmiston
RECOGNIZED CANADIAN ATTORNEY/AGENT              Mark V. Jordan
CORRESPONDENCE INFORMATION
NAME                                            Mark V. Jordan
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        mjordan@bracepointlaw.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   trademark@bracepointlaw.com
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Standard
NUMBER OF CLASSES                               1
APPLICATION FOR REGISTRATION PER CLASS          350
*TOTAL FEES DUE                                 350
*TOTAL FEES PAID                                350
SIGNATURE INFORMATION
SIGNATURE                                       /Mark V. Jordan/
SIGNATORY'S NAME                                Mark V. Jordan
SIGNATORY'S POSITION                            Attorney of record, Washington state bar member
SIGNATORY'S PHONE NUMBER                        206-212-0030
DATE SIGNED                                     12/26/2023
SIGNATURE METHOD                                Signed directly within the form
                                   Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 108 of 138

PTO- 1478
Approved for use through 10/31/2024. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                                                Trademark/Service Mark Application, Principal Register

                                                                                                         Serial Number: 98331136
                                                                                                         Filing Date: 12/26/2023
To the Commissioner for Trademarks:

MARK: S, SEATTLE (stylized and/or with design, see mark)
The literal element of the mark consists of S, SEATTLE. The applicant is not claiming color as a feature of the mark. The mark consists of the
letter "S" containing the word SEATTLE running from the top of the letter to the bottom with the letters evenly spaced throughout. The letter "S"
is solid with a solid line boarder.
The applicant, Seattle Metropolitans Hockey LLC, a limited liability company legally organized under the laws of Washington, having an
address of
     10650 NE 9th Place, Unit 1226
     Bellevue, Washington 98004
     United States
     XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 041: Museum services, namely, display of memorabilia and artifacts pertaining to an historical Seattle professional ice
hockey team, and providing a website featuring information regarding the history of this ice hockey team; conducting guided walking tours of a
city and its landmarks; and organizing, arranging, and conducting of ice hockey games

In International Class 041, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 12/04/2015, and first used in commerce at least as early as 12/04/2015, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots from Applicant's website and Facebook page showing use of the mark in connection with the
services.

Original PDF file:
SPE0-9712675229-202312261 94301339461_._Seattle_Met ropolitans_S_logo_specime n_Class_041.pdf
Converted PDF file(s) (13 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Specimen File7
Specimen File8
Specimen File9
Specimen File10
Specimen File11
Specimen File12
Specimen File13
Webpage URL: seattle-metropolitans.com/shop; https://www.facebook.com/seattlemetros
Webpage Date of Access: 12/26/2023
Webpage URL: None Provided
Webpage Date of Access: None Provided
                    Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 109 of 138


The owner's/holder's proposed attorney information: Mark V. Jordan. Other appointed attorneys are Steve Edmiston. Recognized Canadian
attorney(s)/agent(s) is/are Mark V. Jordan. Mark V. Jordan of Bracepoint Law, P.S., is a member of the XX bar, admitted to the bar in XXXX,
bar membership no. XXX, and the attorney(s) is located at
    2775 Harbor Avenue SW, Suite D
    Seattle, Washington 98126
    United States
    206-212-0030(phone)
    mjordan@bracepointlaw.com

Mark V. Jordan submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

The applicant's current Correspondence Information:
   Mark V. Jordan
    PRIMARY EMAIL FOR CORRESPONDENCE: mjordan@bracepointlaw.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): trademark@bracepointlaw.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $350 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Mark V. Jordan/ Date: 12/26/2023
Signatory's Name: Mark V. Jordan
Signatory's Position: Attorney of record, Washington state bar member
Signatory's Phone Number: 206-212-0030
Signature method: Signed directly within the form
                  Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 110 of 138


Payment Sale Number: 98331136
Payment Accounting Date: 12/26/2023

Serial Number: 98331136
Internet Transmission Date: Tue Dec 26 20:06:58 ET 2023
TEAS Stamp: USPTO/BAS-XX.XXX.XX.XXX-2023122620065999
9939-98331136-860f9cca6385ca9e2db9edccda
7c9d8f4c0403bafbc150345cc274a253b71ca3-C
C-06585124-20231226194301339461
Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 111 of 138
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Case 2:23-cv-01989-JLR Document 15 Filed 02/26/24 Page 128 of 138
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